Case:Highly
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     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A. Polster
     6    ALL CASES                   )
                                      )
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                                      __ __ __
    10
                      Friday, February 22, 2019
    11                        __ __ __
    12        HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                       CONFIDENTIALITY REVIEW
    13                        __ __ __
    14
    15
    16
    17            Videotaped Deposition of MATTHEW ROGOS,
            held at Marcus & Shapira LLP, One Oxford
    18      Centre, Suite 3500, Pittsburgh, Pennsylvania,
            commencing at 1:09 p.m., on the above date,
    19      before Michael E. Miller, Fellow of the
            Academy of Professional Reporters, Registered
    20      Diplomate Reporter, Certified Realtime
            Reporter and Notary Public.
    21
    22
                                      __ __ __
    23
    24                  GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
    25                       deps@golkow.com

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    1   A P P E A R A N C E S:                          1   A P P E A R A N C E S:
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         Corporation                                   24
   24                                                  25
   25

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    2     JONES DAY                                     2
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    3        pochman@jonesday.com                       3 APPEARANCES                      2
             (via teleconference)                       4 PROCEEDINGS                      8
    4     North Point
          901 Lakeside Avenue                           5
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          (216) 586-3939
    6     Counsel for Walmart Corporation               7     BY MR. BARTON              8
    7
    8     ARNOLD & PORTER KAYE SCHOLER LLP              8     BY MR. KOBRIN            132
          BY: DAVID KOUBA, ESQUIRE                      9     BY MR. BARTON             140
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   10     601 Massachusetts Ave, NW                    11
          Washington, DC 20001-3743                    12 CERTIFICATE           153
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          Counsel for Endo Health Solutions            13 ERRATA              155
   12     Inc., Endo Pharmaceuticals Inc., Par         14 ACKNOWLEDGMENT OF DEPONENT
          Pharmaceutical, Inc. and Par                                                            155
   13     Pharmaceutical Companies, Inc.               15 LAWYER'S NOTES           157
   14
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   24
                                                       25
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    1             DEPOSITION EXHIBITS                       1               PROCEEDINGS
                    MATTHEW ROGOS
    2             February 22, 2019                         2             (February 22, 2019 at 1:09 p.m.)
    3   HBC SERVICE-ROGOS EXHIBITS                PAGE      3             THE VIDEOGRAPHER: We're now on
    4   Exhibit 1 P-GEN-00145             11
                Resume                                      4       the record. My name is Devyn
    5           [No Bates]
    6   Exhibit 2 P-HBC-6009              21                5       Mulholland. I am the videographer for
                Meeting Presentation
    7           HBC_MDL00068314                             6       Golkow Litigation Services. Today's
    8   Exhibit 3 P-HBC-6021              23                7       date is February 22nd, 2019. The time
                E-mail(s) w/Attachment(s)
    9           HBC_MDL00136653 -                           8       is 1:09 p.m.
                HBC_MDL00136654
   10                                                       9             This video deposition is being
        Exhibit 4 P-HBC-6022                27             10       held in Pittsburgh, Pennsylvania in
   11           E-mail(s) w/Attachment(s)
                HBC_MDL00136141 -                          11       the matter of National Prescription
   12           HBC_MDL00136213
   13   Exhibit 5 P-HBC-05040               38             12       Opiate Litigation. The deponent is
                E-mail(s) w/Attachment(s)
   14           HBC_MDL00140166 -                          13       Matthew Rogos.
                HBC_MDL00140204                            14             Counsel will be noted on the
   15
      Exhibit 6 P-HBC-01266                 52             15       stenographic record. The court
   16         E-mail(s) w/Attachment(s)
              HBC_MDL00180061 -                            16       reporter is Mike Miller, and he will
   17         HBC_MDL00180088
   18 Exhibit 7 P-HBC-01271                 66
                                                           17       now swear in the witness.
              Inventory Control Doc                        18              MATTHEW ROGOS,
   19         HBC_MDL00052107 -
              HBC_MDL00052110                              19           having been duly sworn,
   20
      Exhibit 8 P-HBC-01272                 78             20           testified as follows:
   21         10/13/14 Memo                                21               EXAMINATION
              w/Attachment(s)
   22         HBC_MDL00132908 -                            22   BY MR. BARTON:
              HBC_MDL00132924
   23                                                      23       Q. All right. Mr. Rogos, my name
      Exhibit 9 P-HBC-05045                 90
   24         E-mail(s) w/Attachment(s)                    24   is Eric Barton. We met just before the
              HBC_MDL00133435 -                            25   deposition. I am one of the attorneys
   25         HBC_MDL00133463
                                                  Page 7                                               Page 9
    1   HBC SERVICE-ROGOS EXHIBITS                PAGE      1   representing the plaintiffs in some
    2                                                       2
      Exhibit 10 P-HBC-05042                 97
                                                                litigation involving the opioid epidemic, and
                                                            3   we're here to take your deposition today.
    3         E-mail(s) w/Attachment(s)
              HBC_MDL00181521 -                             4             Have you ever had your
    4         HBC_MDL00181555                               5   deposition taken?
    5 Exhibit 11 P-HBC-05043                107
                                                            6        A. No.
              E-mail(s) w/Attachment(s)
    6         HBC_MDL00181482 -                             7        Q. Okay. I'll explain a little
              HBC_MDL00181511                               8   bit about the process, and I know that you've
    7
                                                            9   probably talked with counsel about the
        Exhibit 12 P-HBC-05003              118
    8           E-mail(s) w/Attachment(s)                  10   process as well.
                HBC_MDL00078594 -                          11             But first, do you understand
    9           HBC_MDL00078668                            12
   10   Exhibit 13 P-HBC-01184              127                 that you have just taken an oath the same as
                E-mail(s) w/Attachment(s)                  13   if you were sitting in a courtroom in front
   11           HBC_MDL00133670 -                          14   of a jury?
                HBC_MDL00133748                            15
   12                                                                A. I do.
   13                                                      16        Q. Okay. And so the oath is to
   14                                                      17
   15
                                                                tell the truth under penalty of perjury, and
                                                           18   you understand that, correct?
   16
   17                                                      19        A. I do.
   18                                                      20        Q. Thank you.
   19
                                                           21             The -- because we have a court
   20
   21                                                      22   reporter who will be making a transcript of
   22                                                      23   what we say today, I will need you to give
   23                                                      24
   24                                                           audible answers and try not to interrupt me
   25                                                      25   as I try not to interrupt you.
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    1            Is that okay?                           1       Q. When you first started working
    2       A. That's fine.                              2   for Giant Eagle's HBC Service Company, was
    3       Q. All right. If you don't                   3   that in the title of distribution operations
    4   understand a question that I ask, please feel    4   manager?
    5   free to tell me so and ask me to try to          5       A. In 2013, yes.
    6   clarify it for you. Is that all right?           6       Q. Okay. And you retained that
    7       A. That's fine.                              7   role for the entirety of your tenure with
    8       Q. Okay. And you are represented             8   HBC?
    9   today in this deposition?                        9       A. Until I left, yep.
   10       A. I am.                                    10       Q. Okay. And so prior to working
   11       Q. Okay. And your counsel is here           11   for HBC, you had been working for other
   12   with you, correct?                              12   divisions or subsidiaries of Giant Eagle; is
   13       A. That's correct.                          13   that right?
   14       Q. Okay. Who is your current                14       A. That's correct.
   15   employer?                                       15       Q. And those are listed there on
   16       A. ABARTA Coca-Cola.                        16   the second page of your r?sum??
   17       Q. Okay. And how long have you              17       A. Uh-huh.
   18   worked for Coca-Cola?                           18       Q. During those positions, from
   19       A. Since May of 2015.                       19   2003 up until November of 2013, had you --
   20       Q. We're here today to ask you              20   had you had any experience or training in any
   21   questions primarily about your work for Giant   21   of those positions dealing with controlled
   22   Eagle's HBC Service Company.                    22   substances or pharmaceuticals?
   23            Do you understand that?                23       A. Prior to getting to HBC, you
   24       A. I do.                                    24   mean?
   25       Q. When did you work for Giant              25       Q. Correct.
                                             Page 11                                               Page 13
    1   Eagle's HBC Service Company?                     1       A. No.
    2       A. I worked for them from the time           2       Q. Okay. When you left HBC in May
    3   period approximately November 2013 to May of     3   of 2015, was that -- was that a voluntary
    4   2015.                                            4   decision on your part?
    5       Q. Okay. Let me hand you -- let's            5       A. It was.
    6   just use this one as Exhibit 1.                  6       Q. The role of distribution
    7            (HBC-Rogos Deposition Exhibit 1         7   operations manager, did you have essentially
    8       marked.)                                     8   kind of overall supervisory responsibility
    9   BY MR. BARTON:                                   9   for all operations of the warehouse?
   10       Q. Okay. I've marked a document             10       A. Yes.
   11   as Exhibit 1, I'm handing it to you. I'll       11       Q. And your counsel almost
   12   represent this document Exhibit 1 has an        12   objected. That reminded me just as a process
   13   identifying number, our own identifying         13   point. There may be some objections to
   14   number at the top that's P-GEN-00145.           14   questions that I ask today, and if there are,
   15            But does this appear to be a           15   unless your counsel instructs you not to
   16   r?sum? of yours that summarizes your            16   answer, you understand that you will go ahead
   17   education and experience?                       17   and try to answer my question?
   18       A. Yes.                                     18       A. I'll try.
   19       Q. Is this something that you               19       Q. Okay. So the operations of the
   20   prepared?                                       20   HBC warehouse, as I understand it, it was
   21       A. It is.                                   21   only a portion of the overall warehouse that
   22       Q. Okay. And does it fairly and             22   was identified and specific to the
   23   accurately summarize your education and work    23   pharmaceutical distribution piece, correct?
   24   history?                                        24       A. That's correct.
   25       A. It does.                                 25       Q. And within that pharmaceutical

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    1   distribution piece, there was also a separate    1        Q. Okay. So did you leave work to
    2   defined area that was secured for controlled     2   be a full-time student in the M.B.A., or were
    3   substances; is that true?                        3   you able to do that while working at Giant
    4       A. It is.                                    4   Eagle?
    5       Q. Okay. But in terms of the                 5        A. I took night classes while
    6   entire HBC warehouse, the pharmaceutical and     6   working at Giant Eagle.
    7   controlled substances part of that warehouse     7        Q. Okay. In your role as
    8   was a relatively small part of the entire        8   distribution operations manager, did you
    9   warehouse; is that true?                         9   directly supervise managers underneath you,
   10       A. That's correct.                          10   so to speak?
   11       Q. Okay. I asked you if you'd had           11        A. I did.
   12   any, I think, training or experience prior to   12        Q. And how many managers were
   13   HBC with -- dealing with distribution of        13   under you at HBC?
   14   pharmaceuticals or controlled substances, and   14              MR. KOBRIN: Object to form.
   15   you said you had not, correct?                  15   BY MR. BARTON:
   16       A. That's correct.                          16        Q. How many managers did you
   17       Q. Do you recall any education --           17   directly supervise?
   18   and I'll ask you a little bit about your        18        A. I'm trying to think. I think
   19   education here in a second, but had you had     19   there was a minimum of three.
   20   any education concerning Federal laws or        20        Q. Did any of those managers have
   21   regulations concerning controlled substances?   21   exclusive responsibilities to the
   22             MR. KOBRIN: Object to form.           22   pharmaceutical area of the warehouse?
   23       Do you mean formal education or job         23        A. Not that I can remember.
   24       training, anything?                         24        Q. Okay. Yeah, I just wondered
   25             MR. BARTON: Well, yeah. I             25   if -- if there was someone who kind of had
                                              Page 15                                              Page 17
    1       mean, really anything.                       1   that role who you supervised, but you don't
    2   BY MR. BARTON:                                   2   recall that being the way managerial
    3       Q. Anything you would consider               3   responsibilities were divided underneath you?
    4   education, whether it be formal education or     4       A. No.
    5   education through job training or anything.      5       Q. Okay. Let me just ask you
    6       A. Prior to getting to HBC?                  6   about the physical setup for you at the HBC
    7       Q. Correct.                                  7   warehouse.
    8       A. No.                                       8            I assume your -- you spent your
    9       Q. Let's -- let me ask a little              9   days at the warehouse, correct?
   10   bit about your education quickly, just -- it    10       A. That's correct.
   11   appears you graduated from Penn State with a    11       Q. And did you have an office
   12   Bachelor of Science in marketing; is that       12   there on site?
   13   right?                                          13       A. I did.
   14       A. It is.                                   14       Q. And was that an office that,
   15       Q. With a minor in business                 15   you know, kind of had walls and a door, or
   16   logistics?                                      16   was it just an area?
   17       A. Uh-huh.                                  17       A. It was a walls-and-door office.
   18       Q. And that was 1997?                       18       Q. Okay. Like a full-on office?
   19       A. That's correct.                          19       A. Full-on office.
   20       Q. Okay. And then after entering            20       Q. All right. And you had a
   21   the workforce, it appears you got an M.B.A.     21   computer?
   22   from University of Pittsburgh, correct?         22       A. I did.
   23       A. I did.                                   23       Q. I assume you had an office
   24       Q. That was in 2008?                        24   phone?
   25       A. It was.                                  25       A. I did.
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    1       Q. The computer that you had, was            1       Q. Okay. And so that -- that was
    2   that like a desktop computer with a monitor,     2   just for kind of talking to people who might
    3   or did you just use a laptop?                    3   be in another part of the warehouse far
    4       A. I can't recall. I think it                4   enough away that you can't have a
    5   might have been a laptop, but I can't recall.    5   face-to-face conversation, but you're just
    6       Q. Okay. I assume, but you tell              6   having kind of an immediate communication
    7   me if -- otherwise, that your computer was       7   with them that way?
    8   linked or networked to a company network of      8       A. That's correct.
    9   some kind?                                       9       Q. All right. Any other ways you
   10       A. I would assume, yes.                     10   can think of? I'm just trying to understand
   11       Q. Yeah. And for e-mail                     11   what all those were.
   12   communications, did you occasionally e-mail     12       A. I think there might have been
   13   people through the course of your work?         13   an intercom, so if we had to call somebody to
   14       A. I did.                                   14   the office there was an intercom that would
   15       Q. And was that -- if you recall,           15   communicate a message across the warehouse.
   16   did you use -- did you and the company use an   16       Q. Okay. How many offices like
   17   Outlook, Microsoft Outlook-based system for     17   yours were there at the HBC warehouse?
   18   e-mail, or was it some other e-mail provider,   18            MR. KOBRIN: Object to form.
   19   if you recall?                                  19       A. You mean where other people
   20       A. I believe it was Outlook.                20   would also perform work that had walls and
   21       Q. And likewise, for word                   21   doors?
   22   processing, if you worked on documents and      22   BY MR. BARTON:
   23   drafted or edited and sent documents, word      23       Q. Yeah.
   24   processing, did you use Microsoft Word there,   24       A. Okay. My recollection, one,
   25   do you recall?                                  25   two, three, four -- we had four on the same
                                              Page 19                                              Page 21
    1       A. Yes.                                      1   kind of platform and location where I was,
    2       Q. Okay. Was there -- in addition            2   and then there was -- there were two others
    3   to any e-mails that you might use in the         3   in the center of the warehouse that served as
    4   course of your work, was there also a company    4   an inventory warehouse office.
    5   intranet, if you will, where you could do        5       Q. Okay. And who were the people
    6   instant messaging directly to other employees    6   who had the other four -- or the other three,
    7   without using e-mail?                            7   I guess. There were four you said in your
    8       A. I believe there was.                      8   area.
    9       Q. Okay. Is that -- do you know              9       A. Uh-huh.
   10   what -- do you know what that -- did it have    10       Q. Who were the other people and
   11   a name?                                         11   like, kind of what were their titles? Just
   12       A. I don't recall.                          12   getting a sense of who --
   13       Q. Okay. Was that something that            13       A. We had a maintenance supervisor
   14   you often used, if you recall?                  14   who had his own office. There was an office
   15       A. I don't think I used it too              15   administrator. Our HR department had an
   16   much.                                           16   office and our payroll support had an office.
   17       Q. Was there any other way,                 17   And I recollect we also had -- I want to say
   18   besides direct face-to-face conversations       18   a receptionist. She had an office as well.
   19   with people or using the office telephone or    19            MR. BARTON: Okay.
   20   using e-mail or the instant messaging           20            (HBC-Rogos Deposition Exhibit 2
   21   function, if you used that, were there any      21       marked.)
   22   other ways that you communicated with other     22   BY MR. BARTON:
   23   people at HBC?                                  23       Q. I'm going to hand you a series
   24       A. I think we communicated with             24   of documents and just ask you questions about
   25   supervisors over a walkie-talkie system.        25   them, and that's how we'll largely proceed

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    1   here.                                            1   document -- the Bates number on the bottom
    2               First of all, I'll hand you          2   right of the first page of this document is
    3   what we marked as Exhibit 2. I may not have      3   HBC_MDL00136653; is that correct?
    4   many questions about this. This is a             4       A. Yes.
    5   document that was produced by HBC. The           5       Q. Okay. This is a multiple-page
    6   metadata associated with the document on the     6   document that has an e-mail on the -- what
    7   first page seems to suggest it was created       7   appears to be an e-mail on the first page
    8   perhaps before you came to HBC, in March of      8   from a Jeanine Singer to several people.
    9   2013.                                            9            You are listed as one of the cc
   10               So I point that out only to         10   recipients of this, correct?
   11   suggest -- my first question about this is,     11       A. Looks like it.
   12   is this a document that you recognize or        12       Q. And the date was Tuesday, the
   13   recall seeing?                                  13   12th of November 2013, correct?
   14               MR. KOBRIN: Do you know who's       14       A. Yes.
   15        the custodian on it?                       15            MR. KOBRIN: If I may, Eric, I
   16               MR. BARTON: I don't.                16       object to this. Per our agreement
   17               MR. KOBRIN: You don't, okay.        17       prior to this deposition, plaintiffs'
   18               MR. BARTON: If it's not             18       counsel agreed to tell us the topics
   19        listed, and it isn't, I don't know who     19       about which you would be talking and
   20        it is.                                     20       questioning Mr. Rogos, and this
   21               MR. KOBRIN: So it may not be        21       appears to be a document that is about
   22        from his custodial file either. He         22       McKesson's suspicious order monitoring
   23        may have never seen it.                    23       program, and I don't think that falls
   24               MR. BARTON: Yeah, which is          24       into any of the topics that you
   25        really my question. And if he hasn't,      25       advised us in advance you'd be asking
                                              Page 23                                            Page 25
    1       then I don't have any other questions.       1       Mr. Rogos about.
    2       A. This is the first time I've               2            MR. BARTON: I don't have many
    3   seen this.                                       3       questions about this document, but I
    4   BY MR. BARTON:                                   4       don't -- I don't believe it's outside
    5       Q. Okay. If you had authored this            5       the scope of us providing you with
    6   or edited it or something, I'd have more         6       topics, including asking about
    7   questions about it, but if you've never seen     7       suspicious order monitoring programs.
    8   it before, I don't need to have you answer       8            So I'm not going to ask him
    9   any other questions about it because you         9       about the details of McKesson's
   10   haven't seen before. Okay.                      10       program, but that's -- so, I mean, I
   11            And from looking at that real          11       have a few questions I will ask him
   12   quick, you can't discern who may have           12       about this document.
   13   authored it, or can you, just based on having   13            MR. KOBRIN: You can ask. I
   14   worked at HBC?                                  14       don't think it falls in any of the six
   15            MR. KOBRIN: If you can tell.           15       topics you advised us of in advance.
   16       You don't need to speculate.                16            MR. BARTON: That's fine. You
   17       A. Yeah, unless there's a name at           17       can make that objection. It will be
   18   the end, I can't tell.                          18       reserved.
   19            MR. BARTON: Okay. That's               19   BY MR. BARTON:
   20       fine.                                       20       Q. First, you confirmed your name
   21            (HBC-Rogos Deposition Exhibit 3        21   is shown as one of the cc recipients,
   22       marked.)                                    22   correct?
   23   BY MR. BARTON:                                  23       A. It is.
   24       Q. I've handed you what we've               24       Q. Do you recall the call that
   25   marked as Exhibit 3. And this is a              25   this e-mail appears to be referencing? It
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                                             Page 26                                               Page 28
    1   says for our call at 9:00 Pacific Time, 12:00    1   it, and I want to direct your attention to
    2   Eastern Time.                                    2   that, just in terms of trying to place the
    3            Do you recall the call that may         3   timing of that conference.
    4   have followed this e-mail?                       4        A. Yeah.
    5       A. No.                                       5        Q. Do you see that this is an
    6       Q. Okay. And then the attachment             6   e-mail that appears to have been sent Friday,
    7   to the e-mail, which appears to relate to a      7   13th of December 2013?
    8   controlled substance monitoring program of       8        A. I do.
    9   McKesson, do you recall reviewing that           9        Q. And Mr. Millward is saying in
   10   attachment as you sit here today?               10   the body of the e-mail: In order to help
   11       A. No.                                      11   guide the discussion for next Wednesday's
   12       Q. Okay. Do you recall having any           12   meeting, I have attached two presentations
   13   kind of communications with representatives     13   that were given at the DEA's distributor
   14   of McKesson about their controlled substance    14   conference that Matt Rogos and I attended.
   15   monitoring program?                             15             Do you see that?
   16       A. No.                                      16        A. I do.
   17       Q. Do you recall having attended a          17        Q. Okay. Does that refresh your
   18   DEA distributor conference in late 2013?        18   recollection about the timing of that
   19       A. No.                                      19   conference, whether it was 2014 or 2013?
   20       Q. Okay. Do you recall attending            20        A. Yeah, I was mistaken. It was
   21   a conference with Joe Millward where there      21   2013.
   22   were presentations given about the              22        Q. Okay. So sometime in the late
   23   distribution of controlled substances and       23   fall, I guess, of 2013 is when you believe
   24   regulations applicable to that?                 24   you attended that conference with Joe
   25       A. I do.                                    25   Millward?
                                             Page 27                                               Page 29
    1        Q. Okay. Do you recall when you             1       A. Correct.
    2   attended that presentation?                      2       Q. And do you have a recollection
    3        A. I believe it was October of              3   of at least being there and some of what you
    4   2014.                                            4   did attending that conference?
    5        Q. October of 2014. Okay. Well,             5       A. I do.
    6   let me show you -- I'll hand to you              6       Q. So the attachments to this
    7   Exhibit 4.                                       7   e-mail from Mr. Millward have basically two
    8            (HBC-Rogos Deposition Exhibit 4         8   presentations; one is a number of pages
    9        marked.)                                    9   called Distributor Initiative, A National
   10   BY MR. BARTON:                                  10   Perspective, and then if you flip through to
   11        Q. Exhibit 4 is a document that            11   almost the end of the exhibit, there's just a
   12   begins with a Bates number in the lower         12   handful of pages, really three or four pages,
   13   right-hand corner of HBC_MDL00136141, and       13   that's a presentation called ARCOS Reporting.
   14   it's many pages, because it has a couple of     14            Do you see that?
   15   attachments. I think the last page of this      15       A. I do.
   16   exhibit is HBC_MDL00136214.                     16       Q. Okay. First of all, where was
   17            Is that correct?                       17   this conference?
   18        A. Uh-huh, yes.                            18       A. I believe it was outside of DC
   19        Q. So on the first page of this            19   in Maryland.
   20   document, Exhibit 4, it appears to be an        20       Q. And actually, I guess, there's
   21   e-mail from Joe Millward to several people.     21   a date on this first presentation of
   22   You're not listed among the recipients of       22   October 22, 2013. Does that -- does that
   23   this e-mail, correct?                           23   sound consistent now?
   24        A. No.                                     24       A. It does.
   25        Q. But he does reference you in            25       Q. Okay. Was -- and at this point

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    1   in time, and I guess earlier in my               1   Primarily, I think they focused on Florida.
    2   questioning I think you might have given me a    2   BY MR. BARTON:
    3   start date of around November of 2013 with       3        Q. And when you say the writing of
    4   HBC. This of course was in late October.         4   prescriptions on these medications was
    5            Do you recall whether at the            5   rampant, you're referring to opioid narcotic
    6   time you attended this conference with           6   pain medications?
    7   Mr. Millward, had you started as distribution    7        A. I believe that's what the
    8   operations manager for HBC?                      8   majority of the subject matter was at the
    9        A. I don't believe.                         9   conference.
   10        Q. Was attending this conference           10        Q. Okay. Yeah.
   11   something you did, though, in anticipation of   11             So the conference focused on
   12   beginning your work for HBC?                    12   opioids primarily from the distributor
   13        A. I believe so.                           13   perspective; is that right?
   14        Q. So in some respects, was                14        A. I believe so. Yeah, I can kind
   15   attending this conference with Mr. Millward     15   of look through to refresh my memory.
   16   part of your initial education and training     16        Q. So having not worked in the
   17   on some of the issues that were new to you      17   pharmaceutical industry or the distribution
   18   and applicable to the distribution of           18   of pharmaceuticals prior to this, one
   19   controlled substances?                          19   takeaway that you recall is realizing perhaps
   20        A. Uh-huh.                                 20   for the first time just how rampant the
   21        Q. Okay. Yes?                              21   opioid prescribing was in the United States;
   22        A. Yes.                                    22   is that right?
   23        Q. Do you have any recollection of         23        A. Correct.
   24   being at the conference and actually watching   24        Q. And you recall Florida being a
   25   these presentations or listening to them?       25   big subject of discussion about what was
                                              Page 31                                              Page 33
    1       A. I do.                                     1   happening there?
    2       Q. Okay. Were there other                    2       A. Again, I believe it was.
    3   presentations? Mr. Millward just attached        3       Q. Okay. Any other takeaways that
    4   two, but were there other presentations at       4   you recall sitting here? I know it's been
    5   the conference as well?                          5   over five years, but...
    6       A. Not that I can recall.                    6       A. I know I sat next to Joe, and I
    7       Q. Okay. Was this -- was your                7   had a lot of questions for him since he was
    8   attendance at this conference your first         8   in the business longer than I was, and asked
    9   significant exposure to regulatory compliance    9   him if we had concerns. And he said that we
   10   issues facing distributors of controlled        10   had SOPs and processes in place that -- on
   11   substances?                                     11   several different levels with our
   12       A. It was.                                  12   distribution that would prevent us from
   13       Q. Yes?                                     13   getting in a situation like this.
   14       A. Yes.                                     14       Q. Okay. And Joe at the time,
   15       Q. Okay. Sorry --                           15   what did you understand his position to be in
   16       A. It was, yes.                             16   the company?
   17       Q. Thanks.                                  17       A. The first time I'd met him at
   18            Do you recall leaving this             18   this conference?
   19   conference with any takeaways or realizations   19       Q. Uh-huh.
   20   of something that you thought was important     20       A. I didn't really know his exact
   21   to know going back and starting work for HBC?   21   position, but I just knew that he was -- or
   22            MR. KOBRIN: Object to form.            22   he had a role in the pharmacy department
   23       A. I didn't realize how much the            23   within Giant Eagle.
   24   writing of prescriptions was kind of rampant    24       Q. Okay. And did you later come
   25   on a lot of these prescription medications.     25   to learn that he also, as part of his role
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     1   within the pharmacy side, it had to do with      1       A. I do.
     2   compliance issues? He had some role with         2       Q. And you understood, of course,
     3   compliance?                                      3   that HBC was at that time distributing
     4       A. I believe.                                4   hydrocodone combination products to retail
     5       Q. Okay. Do you recall any                   5   pharmacies in Ohio, correct?
     6   conversations with Joe at or shortly after       6             MR. KOBRIN: Object to form.
     7   this conference where he may have relayed to     7       A. I do.
     8   you any takeaways or concerns or realizations    8   BY MR. BARTON:
     9   he gleaned from this conference?                 9       Q. You did understand that?
    10            MR. KOBRIN: Object to form,            10       A. I did understand, correct.
    11       speculation.                                11       Q. Maybe by this point in time in
    12       A. I do not.                                12   2012, Giant Eagle may not have gotten into
    13   BY MR. BARTON:                                  13   Indiana by then. Had they?
    14       Q. And I'm not asking you to tell           14       A. 2013, you mean?
    15   me what was in his head. I'm asking, do you     15       Q. Right. Well, this is actually
    16   recall anything he told you about significant   16   just saying the 2012 ranking.
    17   things that he learned at this conference?      17       A. For 2012?
    18       A. I do not.                                18       Q. Yeah. Are there any other
    19       Q. Okay. Apart from what either             19   states on that top ten list besides Ohio
    20   of you kind of took away from it, do you        20   where Giant Eagle would have been
    21   recall discussing with Joe, either at the       21   contributing hydrocodone combination products
    22   conference or after, any specific plans or      22   to retail pharmacies?
    23   next steps for HBC as a result of what you      23       A. No.
    24   both heard at this conference?                  24       Q. Okay. You see that Ohio is
    25       A. I can't recall specifically,             25   actually among the top ten states on this
                                               Page 35                                              Page 37
     1   no.                                              1   list for all four of the drug compounds that
     2        Q. If you turn to a page in the             2   are ranked there.
     3   first presentation on this document, it's the    3             Do you see that?
     4   page that has 2012 oxycodone state rankings,     4             MR. KOBRIN: Object to form and
     5   and so it's HBC_MDL00136189. It's about          5        object to relevance. I don't think
     6   two-thirds of the way through.                   6        HBC was distributing all of these at
     7            Do you see that?                        7        that time or anytime.
     8        A. Uh-huh.                                  8   BY MR. BARTON:
     9        Q. So that page starts several              9        Q. I'm just asking if you see
    10   pages of state rankings of different narcotic   10   what's reflected on the presentation that
    11   pain medications.                               11   Ohio is kind of one of the top ten states on
    12            Do you see that?                       12   all of those drugs.
    13        A. I do.                                   13             Do you see that?
    14        Q. If you turn to the second one,          14        A. Yes, I do.
    15   2012 hydrocodone state rankings.                15        Q. Do you recall having an
    16            Do you see that?                       16   understanding at this conference, given that
    17        A. I do.                                   17   you were just in the process of getting to
    18        Q. Do you see, as you mentioned, I         18   know HBC -- do you recall having an
    19   believe, on the previous page, Florida is the   19   understanding of what drugs and drug
    20   number 1 in retail pharmacies for oxycodone.    20   combination products HBC was distributing at
    21   Florida also appears on the hydrocodone state   21   that point in time when you were at this
    22   rankings as number 5.                           22   conference?
    23            Do you see that Ohio appears as        23             MR. KOBRIN: Object to form.
    24   one of the top ten states for hydrocodone       24        A. No.
    25   from retail pharmacies? Do you see that?        25             ///

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     1   BY MR. BARTON:                                   1   of what VAWD certification was and why it was
     2       Q. Okay. Is that something that,             2   something HBC was interested in?
     3   as distribution operations manager, you later    3            MR. KOBRIN: Object to form.
     4   came to have an understanding of, of kind of     4       A. My belief is that we needed the
     5   what opioid and narcotic controlled              5   VAWD certification in order to distribute to
     6   substances HBC was distributing?                 6   our company stores and pharmacies in -- that
     7       A. It was, yes.                              7   were currently in Maryland and that were
     8            (HBC-Rogos Deposition Exhibit 5         8   going to be in Indiana.
     9       marked.)                                     9   BY MR. BARTON:
    10   BY MR. BARTON:                                  10       Q. And if you recall, was it your
    11       Q. And yeah, it's good to keep              11   understanding that Giant Eagle was seeking to
    12   them, as you are, in front of you because       12   expand into those states and -- but in order
    13   there may be occasions where I may refer back   13   to do so and distribute to pharmacies from a
    14   to something as we go. That just happens        14   warehouse, distribute pharmaceuticals and
    15   sometimes. So I'm glad you're keeping those     15   controlled substances, that the warehouse had
    16   in a nice pile there.                           16   to have this VAWD certification?
    17            (Comments off the stenographic         17       A. At the time we made the
    18       record.)                                    18   decision, or at least started to consider
    19   BY MR. BARTON:                                  19   getting into VAWD in January 2014, we already
    20       Q. Okay. I hand you Exhibit 5.              20   had Giant Eagle pharmacies in Maryland.
    21   This is a multiple-page document, Bates         21       Q. Okay.
    22   number on the bottom right, beginning page is   22       A. I can't recall the exact time
    23   HBC_MDL00140166; is that right?                 23   when the Giant Eagles were going to start
    24       A. Yes.                                     24   being built in Indianapolis, but I do
    25       Q. Okay. And then the last page             25   remember the VAWD certification from -- from
                                               Page 39                                              Page 41
     1   of this exhibit, bottom right, Bates number      1   our, just understanding was not something
     2   HBC_MDL00140204; is that right?                  2   that you could get done in 30 to 60 days.
     3       A. Correct.                                  3            It was a -- like a six- to
     4       Q. Okay. This document, the first            4   nine-month, if not a year, process to compile
     5   two pages are -- appear to be an e-mail chain    5   the SOPs, put them into a format that the
     6   in which you are a participant; is that true?    6   VAWD National Board -- Association of Boards
     7       A. It is.                                    7   of Pharmacy wanted them in and make sure that
     8       Q. Okay. And then the remainder              8   we had essentially everything in place when
     9   of the exhibit appears to be an attachment       9   they not only reviewed the documents but came
    10   that was included within this e-mail chain at   10   in and did an audit of the pharmacy.
    11   some point, which I'll ask you a little bit     11       Q. Okay. So -- and we've been
    12   about here in a second.                         12   referring to VAWD. VAWD is actually an
    13            But let me ask you: Was there          13   acronym spelled, all caps, capital V, capital
    14   a decision -- or do you recall a decision       14   A, W-D, correct?
    15   being made in or around January of 2014 at      15       A. Correct.
    16   HBC to move forward with seeking VAWD           16       Q. And that standards for Verified
    17   certification for the HBC warehouse?            17   Accredited Wholesale Distributors; is that
    18       A. Yes.                                     18   right?
    19       Q. Okay. And were you a part of             19       A. Yes.
    20   that decision-making process of deciding to     20       Q. And that is a program that is
    21   pursue VAWD certification?                      21   run by the National Association of Boards of
    22       A. More than likely, yeah, because          22   Pharmacy; is that right?
    23   I was at HBC, yes.                              23       A. Correct.
    24       Q. Right. In general terms, what            24       Q. And the National Association of
    25   is your understanding as you sit here today     25   Boards of Pharmacy sometimes is referred to

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     1   by its acronym, NABP, correct?                   1   through real quick for the context.
     2       A. Correct.                                  2             The first e-mail doesn't have a
     3       Q. The -- is it your understanding           3   date associated with it on this printout, but
     4   then that not every state has, through its       4   the first e-mail appears to be an e-mail from
     5   own state board of pharmacy -- not every         5   you to Greg, and would that have been Greg
     6   state has adopted a regulation or requirement    6   Carlson?
     7   that pharmacies in that state can only           7       A. Yes.
     8   receive products from VAWD-accredited            8       Q. You write: Should we begin to
     9   warehouses; is that true?                        9   talk about moving the VAWD certs forward in
    10       A. I believe, yeah, from my                 10   Maryland and Indiana since it appears that
    11   recollection there were only certain states     11   there may be justification now?
    12   that needed the VAWD certification for us to    12             Correct?
    13   ship to.                                        13       A. Yes.
    14       Q. Right. But what you came to              14       Q. And that is something you wrote
    15   understand is that if the HBC warehouse, at     15   to Greg Carlson at whatever date it was,
    16   least, was going to ship to pharmacies in       16   probably in January?
    17   Maryland or Indiana, that those states would    17       A. Yes.
    18   require HBC's warehouse to be VAWD              18       Q. Okay. And the justification,
    19   accredited, right?                              19   do you recall kind of what you understood the
    20       A. Correct.                                 20   justification to be that you were referring
    21       Q. And you explained that in order          21   to there?
    22   to get that accreditation from the NABP, that   22       A. Again, I think it was the
    23   would be a process that there would be an       23   opening of -- or I guess proposed opening of
    24   application and reviews and it would take       24   several stores in Indiana as well as I
    25   some time to get that accreditation, correct?   25   thought that there was a date, and I can't
                                              Page 43                                               Page 45
     1       A. Correct.                                  1   recall what it was, but I thought there was
     2       Q. But HBC, and you as a part of             2   a -- there was a timeline in Maryland that we
     3   HBC, the decision was made to go ahead and       3   needed to be VAWD certified in order to ship
     4   seek that accreditation, correct?                4   to the stores we had down there.
     5       A. It was, correct.                          5        Q. Right. And one option, I
     6       Q. Okay. And that process more or            6   guess, for Giant Eagle and HBC would have
     7   less began in or around January of 2014 as       7   been to not seek VAWD certification at all,
     8   you recall?                                      8   but in that event, those stores in Maryland
     9       A. Yes.                                      9   or Indiana, those pharmacies, retail
    10       Q. Okay. As part of that process            10   pharmacies, they wouldn't have then been able
    11   of getting ready to apply, did you understand   11   to get product from HBC, correct?
    12   and recognize that one of that -- one part of   12        A. Correct.
    13   that process was going to have to be            13        Q. So whatever, you know, cost or
    14   gathering and reviewing and perhaps adding to   14   economic benefits there were to Giant Eagle
    15   the written policies and procedures that HBC    15   and to HBC of having its retail pharmacies
    16   had in place for its distribution of            16   supplied through HBC, that -- those benefits
    17   controlled substances?                          17   would have been lost if the HBC warehouse
    18       A. Yes.                                     18   didn't obtain the VAWD certification,
    19            MR. KOBRIN: Object to form.            19   correct?
    20   BY MR. BARTON:                                  20            MR. KOBRIN: Object to form, no
    21       Q. In this Exhibit 5, on the first          21        foundation.
    22   page, there's several e-mails that appear to    22        A. Yeah, I didn't see the specific
    23   be reflected there. Down at the bottom of       23   return on investment, but we wouldn't be able
    24   this page -- well, actually, let's turn over    24   to ship to Maryland and Indiana if we didn't
    25   to the second page, just so we kind of walk     25   have the VAWD certification.

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     1   BY MR. BARTON:                                   1   that all SOPs needed to be in one location.
     2        Q. Right.                                   2       Q. Okay. And there's an e-mail
     3            The -- moving up the e-mails,           3   then above his that again doesn't have the
     4   just the conversation here, the next e-mail      4   heading and the date, but there's a
     5   above, which the heading of it is on the         5   sentence -- a couple of sentences there with
     6   first page and then the text is on the second    6   your name below it, and it says: I think we
     7   page of this exhibit, but it's from Greg         7   have a library of SOPs at HBC for Rx. I'll
     8   Carlson back to you and others, Mike Bianco      8   start to compile a VAWD file for the info
     9   and Joe Millward and George Chunderlik,          9   hat -- and it's probably that -- we have,
    10   correct?                                        10   signed Matt.
    11        A. Correct.                                11             Is that you?
    12        Q. And that's on Wednesday,                12       A. Yes.
    13   January 22, 2014, true?                         13       Q. And did you write that?
    14            Do you see that?                       14       A. I did.
    15        A. Yes.                                    15       Q. Okay. And the -- and likewise,
    16        Q. So Greg appears to write, on            16   you assume you probably hit "reply all" and
    17   the second page is where the text is: Yes, I    17   sent this to the key pharmacy team that was
    18   would definitely like to step this up. Who      18   discussing this at that time?
    19   on your end would be part of this project?      19       A. I'm assuming so, yes.
    20   All the folks on this e-mail would be the key   20       Q. Okay. And do you recall then
    21   pharmacy team.                                  21   starting to, you know, compile a VAWD file
    22            Do you see that?                       22   for the -- for the SOPs and the other
    23        A. I do.                                   23   information that you thought you'd need for
    24        Q. And do you think that -- do you         24   VAWD?
    25   agree with what Mr. Carlson was saying there,   25       A. I do.
                                               Page 47                                              Page 49
     1   that the people he put on that e-mail would      1       Q. Okay. Did you -- did you go
     2   at that point in time kind of be the key         2   and seek out the library of SOPs, if you
     3   pharmacy team for that project?                  3   will, kind of the collection of standard
     4        A. I do.                                    4   operating procedures as part of that process
     5        Q. Okay. The next e-mail up the             5   to start your VAWD file?
     6   conversation is later that same day, January     6       A. I did.
     7   22nd, from Joe Millward, and he writes that      7       Q. And do you have a recollection
     8   part of the process is having all SOPs in one    8   today of where you found that library, like
     9   location. We may have to create a number of      9   how it existed? Hard copy or on -- on the
    10   SOPs from scratch.                              10   computer?
    11            Do you see that?                       11       A. I know we had hard copies in my
    12        A. I do.                                   12   office. I kept them in my office.
    13        Q. And what -- SOPs, what's he             13       Q. Okay. Were they in like a
    14   referring to there?                             14   notebook, a binder or something?
    15            MR. KOBRIN: Object to form.            15       A. It was a three-ring binder.
    16        A. I can only guess standard               16       Q. Okay. Were they also available
    17   operating procedures.                           17   on some -- in some folder on your computer
    18   BY MR. BARTON:                                  18   that you had access to, maybe a networked
    19        Q. Okay. Yeah. And do you -- do            19   folder?
    20   you believe you received that e-mail as part    20       A. I can't recall specifically.
    21   of this e-mail conversation?                    21       Q. Okay. The top e-mail on this
    22        A. I can't tell because -- on the          22   document, before we leave it, is -- appears
    23   sheet, but I would assume that he probably      23   to be a meeting organization message where
    24   hit "reply to all" just to make sure that,      24   Greg Carlson is listed as the organizer and a
    25   again, the key pharmacy team was all aware      25   number of people, including you, are listed
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     1   as required attendees.                           1             MR. KOBRIN: Do you mean hand
     2            Do you see that?                        2        notes or --
     3       A. I do.                                     3             MR. BARTON: Typewritten notes.
     4       Q. And so it's describing a                  4        We'll see in the next exhibit, I
     5   conference call with a number and an access      5        think, but I'm just --
     6   code for February 6th, 2014.                     6        A. I don't recall making any edits
     7            Do you see that?                        7   to the specific content, no.
     8       A. I do.                                     8             MR. BARTON: Okay. All right.
     9       Q. And do you have any                       9             (HBC-Rogos Deposition Exhibit 6
    10   recollection today of that particular           10        marked.)
    11   conference call?                                11   BY MR. BARTON:
    12       A. No.                                      12        Q. I'm handing you Exhibit 6.
    13       Q. Okay. Do you believe it likely           13   This is also a multiple-page document and the
    14   went forward consistent with this effort to     14   first page is HBC_MDL00180061.
    15   begin the VAWD certification process?           15             Do you see that?
    16       A. Yes.                                     16        A. I do.
    17       Q. And did you probably have more           17        Q. And then the last page of this
    18   than one conference call along the way like     18   exhibit, the Bates number is HBC_MDL00052110;
    19   this, where people who were key participants    19   is that right -- or did I pull it wrong? I'm
    20   in the process got together to talk about the   20   sorry, I read it wrong. I looked at the
    21   project?                                        21   wrong one.
    22       A. We did.                                  22             The last page is
    23       Q. Okay. Just looking at the                23   HBC_MDL00180088; is that right?
    24   attachment to this exhibit, which follows       24        A. Correct.
    25   those two pages of e-mails, do you see that     25        Q. Okay.
                                               Page 51                                             Page 53
     1   this is a document that is entitled Policies     1             MR. BARTON: Did I do that
     2   and Procedures Guidance Checklist for the        2        right?
     3   National Association Board of Pharmacy, VAWD     3             MS. WICKLUND: Uh-huh.
     4   Program.                                         4   BY MR. BARTON:
     5             Do you see that?                       5        Q. Okay. In Exhibit 6, the
     6        A. Yes.                                     6   e-mails -- again, this is similar to what we
     7        Q. Okay. And do you recall                  7   just saw in Exhibit 5. Does this document
     8   looking at this document at some point in        8   have about two pages of kind of e-mail
     9   time in the process of trying to prepare for     9   conversation followed by that same VAWD
    10   seeking VAWD certification?                     10   Policies and Procedures Guidance Checklist?
    11        A. I do.                                   11        A. Yes.
    12        Q. Okay. And is it a document              12        Q. Okay. Looking at the e-mails
    13   that you recall, you know, maybe looking at     13   then, they appear to be early April of 2014,
    14   more than one time, kind of as a reference to   14   correct?
    15   try to prepare to meet the VAWD requirements?   15        A. Yes.
    16        A. We used it quite extensively to         16        Q. And if you look on the second
    17   prepare.                                        17   page, kind of the bottom of the e-mail chain,
    18        Q. Okay. Did you ever personally           18   it starts with an e-mail from Dolly Stevens
    19   edit this document, in other words, you know,   19   that is on April 4, 2014 and she just says:
    20   go into it and make notes? And we'll see a      20   Attached please find the agenda for Monday's
    21   version of it where there have been notes       21   meeting.
    22   made, and I'll ask you then if you made them.   22             Correct?
    23   But I'm just recalling -- I'm just asking you   23        A. Correct.
    24   now if you recall ever -- you actually ever     24        Q. And I think you are -- yeah,
    25   going in and editing this document?             25   your name appears among a number of people,

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     1   and the subject is a VAWD status meeting of      1   Yeah.
     2   April 7, right?                                  2        Q. Do you -- well, yeah, suffice
     3        A. Correct.                                 3   it to say, as part of this project, I'm just
     4        Q. Okay. And Dolly Stevens, she             4   trying to find out if you think that would
     5   lists her title as Project Manager, Supply       5   have been your role, because you had
     6   Chain/Logistics Technologies, Giant Eagle,       6   referenced checking for the library of SOPs.
     7   correct?                                         7   So do you think that's one thing you would
     8        A. Yes.                                     8   have done as part of getting this project
     9        Q. I assume she kind of became              9   going --
    10   part of the team, so to speak, that was going   10        A. Correct.
    11   to be pursuing the VAWD certification for       11        Q. -- was send her the policies
    12   HBC, right?                                     12   that you were able to get your hands on?
    13        A. Yes.                                    13        A. Right.
    14        Q. The next e-mail up the chain is         14        Q. Okay.
    15   again from Dolly to the same group on Monday,   15        A. She was asked to coordinate
    16   and she has in the body of that e-mail kind     16   these types of meetings.
    17   of a chart with a little bit of a timeline,     17        Q. Right. And everyone on the
    18   correct?                                        18   team had various areas of responsibility or
    19        A. Yes.                                    19   interest. You, among others, would likely
    20        Q. And, first of all, looking at           20   have been the one to send to her the policies
    21   this e-mail, I'm wondering if it refreshes      21   and procedures that you could find for HBC?
    22   your recollection at all and if you remember    22        A. Correct.
    23   the April 7, 2014 VAWD status meeting?          23        Q. Okay. And as you sit here, do
    24        A. Not the specifics, but I                24   you have any specific recollection of any --
    25   remember we had a meeting, correct, yeah.       25   having any problems or difficulties
                                               Page 55                                              Page 57
     1       Q. Okay. The first -- looking at             1   completing that task for her?
     2   Dolly's timeline on the first page of this       2        A. Of sending her the SOPs?
     3   exhibit, that first item says all documents      3        Q. Yeah.
     4   sent to Dolly with a target date of March 20,    4        A. No.
     5   2014.                                            5        Q. Okay. No.
     6            Do you see that?                        6            Now, if we look at the
     7       A. Uh-huh.                                   7   attachment to this exhibit, which again is
     8       Q. And that March 20 would have              8   this policies and procedures checklist,
     9   already occurred as of April 7, 2014,            9   correct?
    10   correct?                                        10        A. Correct.
    11       A. Correct.                                 11        Q. If we go through this, there
    12       Q. So do you recall whether you --          12   are places where there are some notes typed
    13   whether you would have been one to send to      13   in after certain checklists that identify
    14   Dolly any documents relating to this VAWD       14   responsible people or sometimes identify
    15   status meeting, such as the library of SOPs     15   policies that appear to relate to the topic
    16   that you had referenced in that earlier         16   being discussed, correct?
    17   e-mail?                                         17        A. Correct.
    18       A. More than likely, I would have           18        Q. Okay. And do you -- so now
    19   sent them to her, yes.                          19   seeing those, do you recall whether you may
    20       Q. Okay. Do you recall doing it?            20   have ever entered any of those notes on this
    21   Do you have any specific recollection of        21   document?
    22   doing it? I'm not -- I'm not suggesting         22        A. Yeah, I didn't remember it, but
    23   whether you did or didn't. I'm just asking      23   I -- we used this as a checklist, and I would
    24   if you recall it.                               24   write summary notes on where we were on the
    25       A. I'm assuming I did, yeah.                25   different topics.

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     1        Q. Okay. And who's we, when you             1   checked. This one has some that are and some
     2   say we did that?                                 2   that aren't, so that's why I asked the
     3        A. It was -- it would be myself,            3   question.
     4   Dolly, and the Nancy that's referenced there     4       A. Uh-huh.
     5   was my administrative assistant at HBC. She      5       Q. On that -- on that page, there
     6   was helping me out.                              6   appear to be some of the boxes that are
     7        Q. Okay. Would any of the three             7   checked and some are not, and if you do flip
     8   of you may have actually edited this document    8   back to Exhibit 5, the same page, I don't
     9   at times?                                        9   think there's any checks in any of the boxes.
    10        A. The only thing that we would            10   So I just...
    11   edit on the document was below the -- again,    11       A. We must have been -- had the
    12   from my recollection, below the solid line.     12   ability to edit at least the check marks.
    13            So, for instance, if you look          13       Q. Okay. That's what this
    14   on the licensing, it has, on page 68 -- you     14   document is called is kind of a guidance and
    15   know, it has a licensing policy and             15   checklist, I think, right, so that's kind of
    16   procedures for detail with three processes      16   one way you can use this document is using it
    17   there. We never edited any of that wording.     17   as a checklist, right?
    18        Q. Okay.                                   18       A. Correct.
    19        A. But we would edit under the             19            MR. KOBRIN: Do you want to
    20   portion where it says: List names of            20       take a break? We've been going about
    21   policies and procedures and documents that      21       an hour, an hour ten.
    22   meet this requirement.                          22            MR. BARTON: Yeah, that's fine.
    23            And that's where we would list         23       We can do it.
    24   either who was responsible for it, the files    24            THE VIDEOGRAPHER: Off the
    25   that we had, the certifications or licenses     25       record at 2:12 p.m.
                                               Page 59                                             Page 61
     1   for this instance, what files they were in,      1            (Recess taken, 2:12?p.m. to
     2   and then what states we had the licenses and     2       2:27 p.m.)
     3   certification.                                   3            THE VIDEOGRAPHER: We're back
     4        Q. Okay. Very good. Yeah. And               4       on the record at 2:27 p.m.
     5   thank you for that.                              5   BY MR. BARTON:
     6            And you're -- we're looking             6       Q. Okay. Mr. Rogos, a few more
     7   right now, as you said, at the page that is      7   questions about Exhibit 6 that you have in
     8   entitled Licensing and the Bates number page     8   front of you.
     9   ends in 68.                                      9            As I'm flipping through the
    10            What about the check marks in          10   checklist, which as you've noted, this
    11   those boxes? I think when I compared that to    11   version has some edits made to it, and some
    12   the earlier exhibit, I don't think any of the   12   of those edits are identifying responsible
    13   boxes in the earlier exhibit, Exhibit 5, had    13   parties for a given topic and then others at
    14   check marks in them, and some of these do and   14   times identify -- appear to identify
    15   some don't. So I'm just wondering if you        15   documents that relate to the topic, correct?
    16   guys checked boxes as well.                     16       A. Correct.
    17        A. I don't recall specifically if          17       Q. And so if we turn to the
    18   we had the ability to check those.              18   inventory controls topic, which is page 8 of
    19        Q. Okay.                                   19   the document itself, Bates number page ending
    20        A. We might have, but I don't              20   in 73, you see that?
    21   recall.                                         21       A. I do.
    22        Q. For example, let's just --              22       Q. Okay. So the inventory
    23   let's look at temperature and humidity          23   controls section of this checklist has a
    24   controls on page 70. It's two more pages.       24   couple of pages, and the first page is just
    25   Because the licensing one, all the boxes are    25   kind of checklist stuff, and then the second

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                                               Page 62                                             Page 64
     1   page lists names of policies and responsible     1   in this checklist?
     2   party. And the responsible party for             2            MR. KOBRIN: Object to form.
     3   inventory controls is Matt/Nancy.                3        A. I do.
     4            Do you see that?                        4   BY MR. BARTON:
     5        A. I do.                                    5        Q. Okay. And were you involved in
     6        Q. And that's referring to you,             6   that task of trying to see where your
     7   correct?                                         7   existing policies matched up with the VAWD
     8        A. It does.                                 8   checklist?
     9        Q. And Nancy was your                       9        A. Yes.
    10   administrative assistant?                       10        Q. Okay. Do you believe as you
    11        A. She was.                                11   sit here that you made the edits on this
    12        Q. And the two of you are named as         12   document, actually typed them in?
    13   the responsible party on many -- although not   13        A. On the notation of who the
    14   all, but many of these topics in this           14   responsible party are and what documents we
    15   checklist.                                      15   had.
    16            Did you see that?                      16        Q. Yes. You believe you did that?
    17        A. I did.                                  17        A. Yes.
    18        Q. And that's consistent with your         18        Q. Okay. And then we talked about
    19   role as director of warehouse operations kind   19   the checklist that you'll see on page 8, for
    20   of having overall supervisory responsibility    20   example. This is another one where there are
    21   for the policies?                               21   some boxes checked and some boxes not
    22        A. Correct.                                22   checked, correct?
    23        Q. And the documents that are              23        A. Correct.
    24   identified here on this version of the -- of    24        Q. Do you recall being one who
    25   the checklist on page 9, under Inventory        25   kind of went through the checklist to try to
                                               Page 63                                             Page 65
     1   Controls, there's a document or something        1   identify which of these topics appeared to be
     2   called Inventory Control Policy.                 2   addressed by existing policies?
     3             Do you see that?                       3            MR. KOBRIN: Object to form,
     4        A. I do.                                    4       asked and answered.
     5        Q. And so do you recall that there          5       A. I can't specifically remember
     6   was in existence, as of the time this was        6   whether I was the one checking them, but I do
     7   being reviewed and circulated, which it          7   remember going through and verifying with our
     8   appears to be around April of 2014, there was    8   current policies what we had and what needed
     9   a document at least called an inventory          9   to be updated, yeah.
    10   control policy?                                 10   BY MR. BARTON:
    11        A. There was.                              11       Q. Right.
    12        Q. Okay. And the other documents           12            And so would you agree that on
    13   that are listed below that also -- do           13   the inventory controls page on page 8, the
    14   those -- do you understand those to each be     14   second topic from the top is identified as:
    15   identifying a separate policy or procedures     15   Reporting suspicious prescription orders, and
    16   document?                                       16   then (where criminal activity is suspected)
    17        A. I do.                                   17   to Food and Drug Administration, state agency
    18        Q. Okay. And do you believe that           18   and (if controlled substance) Drug
    19   at the time this version was circulated, that   19   Enforcement Administration within three days
    20   someone had undertaken the effort based on      20   (not applicable for reverse distributors).
    21   the -- all of the library of policies that      21            Do you see that?
    22   you were able to put your hands on, somebody    22            MR. KOBRIN: Object to form.
    23   had undertaken the effort to go through the     23       A. I do.
    24   policies and try to match up which policies     24   BY MR. BARTON:
    25   went with which of these VAWD-required topics   25       Q. Whoever was going through this

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     1   as of this point in time did not check that      1      show him so that...
     2   box on this list, correct?                       2           MR. BARTON: That's why I'm
     3        A. It's not checked, yes.                   3      asking because I don't know. There
     4            (HBC-Rogos Deposition Exhibit 7         4      wasn't -- these -- these -- these are
     5        marked.)                                    5      just listed policies on this
     6   BY MR. BARTON:                                   6      Exhibit 6.
     7        Q. I'm handing you Exhibit 7.               7           MR. KOBRIN: No, I understand
     8   Exhibit 7 is a four-page document beginning      8      that. I'm just wondering if you're
     9   Bates HBC_MDL0052107, correct?                   9      asking him -- my understanding is
    10        A. Yes.                                    10      you're asking him if 7, if he thinks
    11        Q. And then it goes through 52110,         11      Exhibit 7 is similar or like one of
    12   correct?                                        12      these bulleted listed policies --
    13        A. Correct.                                13           MR. BARTON: Correct, if that's
    14        Q. This document has the HBC               14      what he believes he was referring to.
    15   Service Company name and address in the upper   15           MR. KOBRIN: -- from four years
    16   left-hand corner and then below that the        16      ago.
    17   words Inventory Controls, with an effective     17           Well, he's not referring to
    18   date for this document showing as               18      anything in this document.
    19   August 1, '14.                                  19           MR. BARTON: Well, I get to ask
    20            Do you see that?                       20      him questions and we'll see what he
    21        A. I do.                                   21      says.
    22        Q. Now, it identifies on the last          22           MR. KOBRIN: I hear you. Are
    23   page of the exhibit, page 4, there is a         23      you going to show him anything,
    24   document owner identified, and you're           24      though, before you ask him if
    25   identified as the document owner.               25      something is similar or...
                                               Page 67                                              Page 69
     1             Do you see that?                       1            MR. BARTON: Yeah. I've showed
     2       A. I do.                                     2        him Exhibit 7.
     3       Q. Okay. Now, do you know if                 3   BY MR. BARTON:
     4   this -- the substance of this document,          4        Q. I think you've already answered
     5   Inventory Controls, is the same or               5   my question, but all I'm trying to do is to
     6   substantially similar to the document that       6   see if you think, from your recollection of
     7   was listed on that inventory controls list on    7   having been involved in this project, if the
     8   page 9 of the previous exhibit?                  8   document that we're looking at in Exhibit 7
     9             MR. KOBRIN: Object to form.            9   is likely, in substance, the same document
    10       You're just saying the inventory            10   you were identifying there in Exhibit 6.
    11       control policy document or any of the       11        A. Probably likely, yes.
    12       documents?                                  12        Q. Yeah. Okay.
    13   BY MR. BARTON:                                  13            And do you believe, just based
    14       Q. I'm just asking him if he                14   on your recollection and having been involved
    15   believes that the inventory control policy      15   in the project, do you believe that what is
    16   document that is listed in Exhibit 6 under      16   shown here in Exhibit 7, this document, was
    17   the inventory control section on page 9 of      17   likely existing in the library of SOPs that
    18   that exhibit, where it lists inventory          18   you had, you know, in your office and
    19   control policy, if you believe that the         19   provided to Dolly at the start of this VAWD
    20   document that is Exhibit 7 is likely the        20   certification process?
    21   document you were referencing in Exhibit 6?     21        A. Yes.
    22       A. It should be, yes.                       22        Q. Okay. Do you recall -- looking
    23             MR. KOBRIN: Are you going to          23   at Exhibit 7, do you recall yourself having
    24       give him a copy of that document or do      24   any role or hand in drafting the content of
    25       you have a copy of that document to         25   what is shown in Exhibit 7?

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     1       A. Myself personally?                        1   place prior to my arrival at HBC that might
     2       Q. Yes.                                      2   have gotten training.
     3       A. No.                                       3       Q. Okay. Do you recall whether,
     4       Q. Okay. Did -- by this time of              4   at HBC at the time we're talking about now,
     5   August of 2014, do you recall having had any     5   in 2014, was there like a learning management
     6   role in reviewing this inventory control         6   system for employees to get all kinds of
     7   policy and, you know, approving it or            7   training that they may need for their jobs?
     8   anything like that, or was it just a             8            MR. KOBRIN: Object to form.
     9   preexisting policy that was in your set of       9       A. I can't recall.
    10   policies?                                       10   BY MR. BARTON:
    11       A. It was a preexisting policy --           11       Q. Okay. You understand what I'm
    12       Q. Okay.                                    12   referring to, though, in terms of like an
    13       A. -- that we were using.                   13   LMS, learning management system, for employee
    14       Q. Okay. So it was -- but as part           14   training? Is that something you have had
    15   of the VAWD certification process, do you       15   familiarity with in your career?
    16   then recall taking this policy and, you know,   16       A. It is.
    17   adding to it or revising it consistent with     17       Q. And one of the things that an
    18   VAWD's expectations?                            18   LMS system can do if an employer sets it up
    19            MR. KOBRIN: Object to form.            19   this way is to have training for its
    20       A. What I recall is the inventory           20   employees, for example, on policies and
    21   policy that was in the library of SOPs was in   21   procedures, correct?
    22   a different format than VAWD -- the VAWD        22       A. I would assume, yes.
    23   application asked us to put the policies in.    23       Q. Okay. But as you sit here, you
    24            As we transferred the                  24   don't recall whether that existed in that --
    25   information from our previous policies into     25   whether that functionality existed in HBC at
                                               Page 71                                              Page 73
     1   the format, there might have been some edits     1   the time in 2014?
     2   that, as a group, the pharmacy key team, if      2       A. An LMS system?
     3   we had questions amongst us, we would ask to     3       Q. Yes.
     4   see how we wanted to, I guess, update the        4       A. I can't recall, no.
     5   policy, or if there were things in the VAWD      5       Q. With respect to this policy in
     6   checklist that we needed to ensure that were     6   Exhibit 7, one of the things that it purports
     7   in the policies to get the certification, we     7   to address or it does address is the
     8   needed to put those in.                          8   reporting of suspicious prescription product
     9   BY MR. BARTON:                                   9   orders, correct?
    10       Q. Okay. So as of August of 2014,           10       A. Yes.
    11   looking kind of at the effective date shown     11       Q. That's both mentioned in the
    12   here for this policy on this document, on       12   overview at the top of the document and then
    13   Exhibit 7, as of -- as of August 1st of 2014,   13   also there's a section on the first page of
    14   do you recall having directed at HBC that       14   the document with that heading, Reporting
    15   there be any training of HBC employees on how   15   Suspicious Prescription Product Orders,
    16   one might identify an order from a pharmacy     16   correct?
    17   of controlled substances as suspicious?         17       A. It is, yes.
    18            MR. KOBRIN: Object to form.            18       Q. And there are four bullet
    19       A. What employees?                          19   points below that heading, correct?
    20   BY MR. BARTON:                                  20       A. There are.
    21       Q. Any. Anyone at the warehouse,            21       Q. And that appears to be the part
    22   I guess. Anyone under your supervision          22   of this document that specifically addresses
    23   ultimately.                                     23   reporting suspicious prescription product
    24       A. I don't recall any specific              24   orders, correct?
    25   training. There were employees that were in     25       A. Yes.
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     1       Q. Okay. Would you agree that the            1   it doesn't try to describe or identify what
     2   substance of this document, where it             2   might make an order suspicious, true?
     3   addresses reporting suspicious product           3             MR. KOBRIN: Object to form.
     4   orders, it does not identify, for example,       4       A. I think it would probably
     5   any criteria for how to screen orders for        5   depend on the item that the pharmacy was
     6   whether they're suspicious?                      6   ordering from us.
     7             MR. KOBRIN: Object to form.            7   BY MR. BARTON:
     8       A. I don't really understand the             8       Q. Whether an order is suspicious
     9   question.                                        9   might depend on what is being ordered? Is
    10   BY MR. BARTON:                                  10   that what you're saying?
    11       Q. Yeah.                                    11       A. Based on the quantity, yeah.
    12             Do you see anywhere in this           12       Q. So the quantity of an order
    13   document, Exhibit 7 -- do you see anywhere      13   might be suspicious. If somebody puts in an
    14   where the policy lists or describes any         14   order for a really large quantity of narcotic
    15   criteria that someone who is trying to follow   15   pain medication, that might be suspicious,
    16   this policy and implement it might use to       16   correct?
    17   decide whether a given order from a Giant       17       A. It would.
    18   Eagle pharmacy is suspicious or not for any     18       Q. Okay. And are there other
    19   reason?                                         19   criteria that you can think of or came to
    20             MR. KOBRIN: Object to form.           20   understand would be good to look for? Are
    21       A. When you -- I just have -- when          21   there other criteria that might make an order
    22   you say an order from a Giant Eagle pharmacy,   22   suspicious?
    23   you're saying a pharmacy orders it from the     23       A. I believe that there were
    24   warehouse?                                      24   controls at the corporate level, which Mike
    25             ///                                   25   Bianco and others monitored, that would
                                               Page 75                                              Page 77
     1   BY MR. BARTON:                                   1   identify if a certain pharmacy within our
     2       Q. Right. Isn't that what would              2   Giant Eagle system was ordering over -- or I
     3   typically happen?                                3   guess overordering a certain prescription.
     4       A. Uh-huh, yep.                              4            I know that they did monitor
     5       Q. And because we're talking                 5   that and would send out monthly reports on
     6   about -- in this instance we're talking about    6   thresholds to us if any store was over the
     7   prescription product orders or orders for        7   threshold.
     8   prescribed products, drugs, right?               8       Q. Okay. So there was a company
     9       A. Correct.                                  9   system, what you're referring to, that you
    10       Q. And so did you understand by             10   understood was in place to be monitoring for
    11   this time, having gone to the DEA conference    11   orders that somehow were flagged by the
    12   and starting to, you know, learn what you       12   system as potentially suspicious?
    13   were learning -- did you understand at that     13       A. Correct.
    14   point in time that one of the things a          14       Q. Based on quantity or frequency
    15   wholesaler or distributor of controlled         15   or size or anything that the system might be
    16   substances has to do is at least monitor for    16   flagging?
    17   potentially suspicious orders of the            17       A. I don't know what the specifics
    18   controlled substances?                          18   were on the flags, but yes.
    19            MR. KOBRIN: Object to form.            19       Q. Right. You didn't set up that
    20       A. I did.                                   20   system to kind of put in whatever parameters
    21   BY MR. BARTON:                                  21   it had, correct?
    22       Q. Okay. Yeah.                              22       A. No.
    23            And so my question about this          23       Q. So that -- and my question was
    24   document is just whether you would agree that   24   really just about what's -- what was in this
    25   this document itself, Exhibit 7, doesn't --     25   written policy as of this point in time
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     1   that -- none of that that you've just             1   date?
     2   described, the companywide system or any          2       A. Yes.
     3   other criteria that employees might use for       3       Q. Okay. The subject of the
     4   identifying an order of suspicious -- an          4   e-mails, Items for NABP. NABP, again, is the
     5   order as suspicious, that's not -- that's not     5   National Association of the Board of
     6   explained in this document, correct?              6   Pharmacy.
     7       A. No.                                        7            Did I say that right?
     8       Q. Okay. What this document does              8       A. Yes.
     9   do is it addresses how HBC intended to            9       Q. And so on the second page of
    10   respond if it identified or suspected an         10   your e-mail, you state to the group in the
    11   order as suspicious?                             11   third paragraph down: We should also be
    12             MR. KOBRIN: Object to form.            12   getting our review from Tina Posey of Buzzeo
    13       A. That's correct.                           13   based upon her visit last week.
    14             MR. BARTON: Okay.                      14            Do you see that?
    15             (HBC-Rogos Deposition Exhibit 8        15       A. Uh-huh.
    16       marked.)                                     16       Q. Do you recall Tina Posey of
    17   BY MR. BARTON:                                   17   Buzzeo coming to visit HBC to help consult on
    18       Q. I'm handing you Exhibit 8.                18   the VAWD certification?
    19   Exhibit 8 is a multiple-page document            19       A. I do.
    20   starting with page Bates number                  20       Q. Were you one of the people who
    21   HBC_MDL00132908; is that correct?                21   requested help from Buzzeo to prepare for
    22       A. Yes.                                      22   VAWD certification?
    23       Q. And the last page of this                 23       A. I was.
    24   exhibit, Bates HBC_MDL00132924; is that          24       Q. Okay. So what -- what did Tina
    25   right?                                           25   come do when she visited? Do you recall?
                                                Page 79                                              Page 81
     1       A. Correct.                                   1        A. I know that she looked through
     2       Q. Okay. This -- this exhibit                 2   our SOPs that we had currently at the
     3   has, again, a couple of pages of e-mail           3   warehouse. She also looked at the controls
     4   conversation in the first two pages and           4   that we had in place, security controls, with
     5   then -- or first three pages -- four, sorry.      5   regards to access, recordkeeping that we had
     6            The first four pages are                 6   in the pharmacy and essentially the
     7   e-mails, and then there's a document that is      7   procedures we had in place back in that
     8   a Buzzeo PDMA pre-VAWD inspection report that     8   pharmacy room.
     9   was attached to one of the e-mails; is that       9        Q. You go on and state: My
    10   correct?                                         10   assumption from speaking with her last week
    11       A. Yes.                                      11   is that we will have to do significant work
    12       Q. Okay. So looking at the                   12   in order to rearrange our SOPs in the way
    13   e-mails, the first e-mail in the chain, which    13   that the NABP auditor will want to see them.
    14   is down -- starts on the bottom of page --       14             Is that what you said?
    15   the third page of the exhibit, carries over      15        A. Yes.
    16   to the fourth page of the exhibit.               16        Q. And do you recall any verbal
    17            So the third page of the                17   feedback you got from Ms. Posey about your
    18   exhibit, ending in 910, that -- is that an       18   SOPs as they were existing at the time she
    19   e-mail from you to Greg Carlson, Mike Bianco,    19   came out and visited?
    20   Dolly Stevens, George Chunderlik, Joe            20        A. Not specifically beyond the
    21   Millward and Carmen Forde dated September 30,    21   format that they should be in when we submit
    22   2014?                                            22   them so they will be familiar to the NABP
    23       A. Yes.                                      23   VAWD process.
    24       Q. And do you believe that to be             24        Q. What you recall as you sit here
    25   an e-mail that you did send to them on that      25   is that the significant work that needed to
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     1   be done had more to do with format than          1   important from an operational standpoint that
     2   substance?                                       2   your supervisors, managers and support staff
     3       A. Correct.                                  3   be properly trained on the SOPs?
     4       Q. Do you recall there being                 4       A. That was one of the
     5   concerns about substance from Ms. Posey?         5   requirements for VAWD, and that's what we --
     6       A. I can't specifically recall,              6   we wanted to make sure -- we had some
     7   no.                                              7   turnover in HBC during my tenure, and we
     8       Q. Okay. Do you recall yourself              8   wanted to make sure we had documentation that
     9   having any concerns at this point in time        9   everybody was properly trained on those SOPs.
    10   about just are the substance of our policies    10       Q. So it was your expectation that
    11   sufficient for VAWD certification purposes?     11   VAWD was not only going to inspect what SOPs
    12       A. There might have been several            12   you had on paper in writing, but they were
    13   that we didn't have SOPs for, yes.              13   also going to look into whether your people,
    14       Q. Okay. So there may have been             14   your staff, actually understood them and
    15   some SOPs that VAWD would expect you to have    15   could implement them?
    16   but you didn't have at that point in time?      16            MR. KOBRIN: Object to form.
    17       A. Correct.                                 17       A. I believe so.
    18       Q. And might there have been some           18   BY MR. BARTON:
    19   policies that you had but that were not as      19       Q. Okay. That was -- that was
    20   complete or detailed as VAWD might want to      20   your expectation of what you were going to
    21   see them?                                       21   need to do in order to get VAWD
    22       A. Correct.                                 22   certification --
    23       Q. Well, going on, you -- a couple          23       A. Correct.
    24   more paragraphs down, you say: Getting          24       Q. -- is have not only the right
    25   these, our SOPs, updated quickly will be        25   policies, but also have your people trained
                                              Page 83                                                      Page 85
     1   important in order for our supervisors,          1   on them?
     2   managers and support staff to be properly        2       A. Correct.
     3   trained on them.                                 3       Q. Continuing to look at
     4            Do you see that?                        4   Exhibit 8, the -- your e-mail started the
     5       A. Uh-huh.                                   5   conversation that this chain includes. Your
     6       Q. "This was one area where Buzzeo           6   e-mail was September 30.
     7   stated that we need to complete very             7            Moving up the conversation, so
     8   quickly."                                        8   now looking at the second page of this
     9            Did you say that?                       9   exhibit, there's an e-mail from Dolly Stevens
    10       A. Yes.                                     10   on Monday, October 13. I'm looking at the
    11       Q. Okay. Why did -- why do you              11   top of page 2, the exhibit.
    12   think Buzzeo said you needed to complete that   12            Are you with me?
    13   very quickly?                                   13       A. Yes.
    14       A. On the items that we needed to           14       Q. And so Ms. Stevens writes on
    15   update where she thought we may have some       15   Monday: Good morning. Attached the Pre-VAWD
    16   deficiencies, we just needed to make sure       16   Inspection Report from the onsite visit by
    17   that we had everybody who worked back           17   Buzzeo. Matt has already addressed that
    18   there -- and I guess when I say everyone, it    18   there is significant work in order to
    19   should be the support staff, supervisors and    19   rearrange our SOPs.
    20   any managers that come in and out, they         20            Do you see that?
    21   should understand the SOPs that we were         21       A. I do.
    22   updating -- had already in place, updating,     22       Q. And so that appears to be where
    23   in order to get ready for VAWD.                 23   she attached the document that is at the back
    24       Q. Okay. And is it important --             24   of this exhibit starting on Bates page ending
    25   if you have SOPs that are written, is it        25   912; is that correct?

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     1        A. I believe so, yes.                       1        Q. And was that something that you
     2        Q. Yeah. I didn't ask a very good           2   think other key members of the team read this
     3   question.                                        3   as well?
     4             Do you believe this document           4        A. I would hope so.
     5   starting on the Bates ending 912 -- do you       5        Q. On page 8, there's a section
     6   believe that is the pre-VAWD inspection          6   addressing policies and procedures.
     7   report that she's referencing in the e-mail?     7             Do you see that?
     8        A. Yes.                                     8        A. I do.
     9        Q. And the -- looking now at that           9        Q. And the -- that begins by
    10   inspection report, the attachment to these      10   saying that VAWD requires that Wholesale
    11   e-mails, it appears to be a letter dated --     11   Distributors maintain and -- excuse me --
    12   it starts with a letter dated October 10,       12   maintain, enforce and adhere to written
    13   2014 to Dolly Stevens from a Scott Hardy at     13   policies and procedures covering -- and then
    14   Buzzeo, correct?                                14   it just describes the things the policies
    15        A. Yes.                                    15   have to cover, correct?
    16        Q. And his letter states:                  16        A. Correct.
    17   Attached are the results of the Pre-VAWD        17        Q. The -- it then says: Several
    18   inspection performed on September 22, 2014      18   policies and procedures were reviewed as part
    19   and September 23, 2014 by Tina Posey.           19   of the pre-VAWD inspection. The majority of
    20             Correct?                              20   them were very high level. All of the
    21        A. Yes.                                    21   procedures require review and updates in
    22        Q. Okay. So just kind of putting           22   order to meet VAWD criteria for the type of
    23   together the sequence here with these e-mails   23   information that is required to be
    24   and this attachment, it sounds like Ms. Posey   24   documented.
    25   came out on the 22nd and 23rd of September      25             Do you see that?
                                               Page 87                                              Page 89
     1   and met with you and talked with you and         1       A. I do.
     2   looked at your policies, among other things,     2       Q. So did you understand that
     3   correct?                                         3   Buzzeo was suggesting, not only that the
     4       A. Correct.                                  4   format of the policies needed to be reviewed
     5       Q. And she gave you some feedback            5   and revised for VAWD inspection, but that the
     6   at that time verbally, I assume, and that's      6   substance of them required some review and
     7   what you were referring to in your               7   updates as well?
     8   September 30 e-mail to the group when you --     8       A. I do.
     9   when you said: My assumption from speaking       9            MR. KOBRIN: Object to form.
    10   with her last week is we have significant       10   BY MR. BARTON:
    11   work to do.                                     11       Q. So the recommendation of Buzzeo
    12             Right?                                12   at the bottom of this section is: Update all
    13       A. Correct.                                 13   VAWD-related policies and procedures to
    14       Q. And then the e-mail that Dolly           14   incorporate the standard VAWD requirements.
    15   sent on October 13 attached the letter and      15            Correct?
    16   the report that had come on October 10th from   16       A. Correct.
    17   Buzzeo, right?                                  17       Q. So that, among other things,
    18       A. Yep. Correct.                            18   was part of the project that the team knew it
    19       Q. And so looking at the Buzzeo             19   needed to work on in order to prepare for
    20   report, for example, looking at page 8 of 13    20   VAWD inspection, true?
    21   of the Buzzeo report, when you got the Buzzeo   21       A. Correct.
    22   pre-VAWD inspection report, did you read it?    22       Q. Likewise, if you'll turn to
    23       A. This report?                             23   page 12 of 13 of this exhibit, of this Buzzeo
    24       Q. Yes.                                     24   report, there's a paragraph there of
    25       A. Yes.                                     25   additional recommendations, paragraph C.

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     1           Do you see that?                         1   Supply Chain Security Act.
     2       A. Uh-huh, I do.                             2            Do you see that?
     3       Q. And there, was Buzzeo reporting           3        A. I do.
     4   to you that: Several of the procedures           4        Q. Was that a project that was --
     5   provided are very high level and do not          5   that was going on kind of simultaneously with
     6   reference all the VAWD criteria or reference     6   the VAWD certification project, or was it
     7   additional documentation covering "how" a        7   part of the VAWD certification project or a
     8   process is performed.                            8   totally different project?
     9           Do you see that?                         9            Do you recall?
    10       A. I do.                                    10        A. I don't recall, no.
    11       Q. And so did you have an                   11        Q. Do you have any recollection as
    12   understanding of what some of the policies      12   you sit here of what updates were needed for
    13   were that Buzzeo was referring to there?        13   the Drug Supply Chain Security Act?
    14       A. I do.                                    14        A. I don't remember.
    15       Q. And did you agree and                    15        Q. Okay. Down in his e-mail, I
    16   understand at that point in time that there     16   just want to ask you because he's referring
    17   needed to be some substantive changes to some   17   to where some policies existed on the
    18   of your policies in order to have the content   18   computer, so I just want to ask you if that
    19   that VAWD would expect?                         19   is familiar to you or --
    20           MR. KOBRIN: Object to form.             20            He says: The remaining Word
    21       A. I did.                                   21   documents were all written for the VAWD
    22           (HBC-Rogos Deposition Exhibit 9         22   accreditation and are currently residing on
    23       marked.)                                    23   the S: drive via the following path. And he
    24   BY MR. BARTON:                                  24   describes the path.
    25       Q. I'm handing you what we've               25            Do you see where I'm talking
                                              Page 91                                               Page 93
     1   marked as Exhibit 9. All right. Exhibit 9        1   about?
     2   again is multiple pages with e-mails and         2       A. I do.
     3   attachments.                                     3       Q. And then he lists in bullet
     4            Just for the record, the first          4   points a number of documents. Included in
     5   page of this exhibit is HBC_MDL00133435; is      5   that is a document called Inventory Control
     6   that correct?                                    6   Doc.
     7       A. Correct.                                  7             Do you see that?
     8       Q. And last page of this exhibit,            8       A. I do.
     9   HBC_MDL00133463; is that right?                  9       Q. Okay. So does that refresh
    10       A. Correct.                                 10   your recollection or does that -- do you
    11       Q. The -- this exhibit starts with          11   recall whether there was a folder on your
    12   a couple of e-mails on the first page.          12   system or your network that, you know, had
    13   You're not a sender or recipient of the         13   kind of the pathway that he describes there
    14   e-mails, but again, you're referenced in        14   on an S: drive. Well, first of all, let me
    15   them, so I just want to ask you your            15   just go through it.
    16   familiarity and understanding of what's being   16             Do you recall there being an
    17   discussed here.                                 17   S: drive that you could access on your
    18            The e-mail at the bottom -- or         18   computer?
    19   the lower e-mail on the first page from         19       A. I believe there was.
    20   George Chunderlik to Joe Millward dated         20       Q. And then I assume once you
    21   Thursday, December 4.                           21   access the S: drive there might be folders
    22            Do you see that?                       22   that you could click on to look at documents
    23       A. I do.                                    23   within those folders, correct?
    24       Q. And he's referring to updating           24       A. Correct.
    25   our policies and procedures for the Drug        25       Q. And folders could have
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     1   subfolders in them like you can do with Word,    1   effective date of August 1, '14, and it's
     2   correct?                                         2   four pages, and at the end it's -- you're the
     3        A. Correct.                                 3   document owner of that document, correct?
     4        Q. So he appears to be describing           4       A. Correct.
     5   a place on the S: drive that was a VAWD          5       Q. It would appear to be the same
     6   certification folder and then NABP               6   one that we previously went over in an
     7   application docs within that folder, and then    7   earlier exhibit, right?
     8   a folder of required policies and procedures     8       A. It appears to be.
     9   within that.                                     9       Q. Okay. So as of this point in
    10            Is that how you would read             10   time in December of 2014, is it your
    11   that?                                           11   recollection or understanding that that
    12        A. Yes.                                    12   document, inventory controls, that we just
    13        Q. And is that consistent with             13   looked at, that document continued to be the
    14   what you believe there to have been on the      14   written policy at HBC that addressed the
    15   S: drive at that time?                          15   reporting of suspicious prescription product
    16        A. I don't recall if there were            16   orders?
    17   more documents, but that looks familiar, yes.   17            MR. KOBRIN: Object to form.
    18        Q. Right. Okay.                            18       A. You're saying from August 1st?
    19            Yeah, you -- without sitting           19   BY MR. BARTON:
    20   here looking at it, you don't know whether he   20       Q. Yes. And -- yeah, so what I'm
    21   listed them all, but that basic                 21   really asking, because I want to be clear.
    22   organizational pathway appears to be            22            What I'm really asking is now,
    23   something familiar to you?                      23   this is being sent in December of 2014, so a
    24        A. Correct.                                24   few months later. So we're now four months
    25        Q. Okay. So the e-mail back from           25   from August 1. So I'm just asking if you
                                               Page 95                                              Page 97
     1   Joe to -- excuse me, from -- yeah, from Joe      1   believe that this continued to be the version
     2   back to Greg Carlson states that George and      2   of the written policy for HBC addressing
     3   I, along with Matt --                            3   suspicious prescription product orders.
     4            He's referring to you there,            4            MR. KOBRIN: Object to form.
     5   correct, you assume?                             5       A. After December?
     6        A. I would assume.                          6   BY MR. BARTON:
     7        Q. Okay.                                    7       Q. As of December, when it was
     8            -- and possibly Mike will have          8   being sent from Joe Millward to Greg Carlson,
     9   to review how the existing documents already     9   December 5, 2014.
    10   cover the DSCSA.                                10            MR. KOBRIN: Object to form.
    11            Do you see that?                       11       A. I believe so.
    12        A. Uh-huh.                                 12   BY MR. BARTON:
    13        Q. Okay. And attachments to this           13       Q. Okay. And we're about to get
    14   e-mail in December of 2014 are listed there     14   where it gets edited and changed and updated.
    15   at the top.                                     15   We'll go through that. I'm just kind of
    16            Do you see that?                       16   trying to understand the timeline of if you
    17        A. Yes.                                    17   believe this was the version still in effect
    18        Q. And one of them is Inventory            18   in December.
    19   Control Doc as an attachment. And if we turn    19            And you believe it was?
    20   forward in the exhibit, there's -- on the       20       A. I do.
    21   page that has Bates number ending in 445, we    21            (HBC-Rogos Deposition
    22   see that inventory controls policy that we      22       Exhibit 10 marked.)
    23   looked at earlier, correct?                     23   BY MR. BARTON:
    24        A. Yes.                                    24       Q. Okay. I hand you Exhibit 10.
    25        Q. And that's the one with the             25   Again, this is a multiple-page document with

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     1   some attachments we've seen before and some      1   team's review of NABP's findings, we believe
     2   new ones. For the record, the first page of      2   we need an extension in which to respond
     3   this is HBC_MDL00181521; is that right?          3   properly to NABP. We are officially
     4        A. Yes.                                     4   requesting a 90-day extension to allow time
     5        Q. And the last page of this                5   to address the issues that NABP raised.
     6   exhibit is HBC_MDL00181555; is that right?       6            Do you see that?
     7        A. Yes.                                     7       A. I do.
     8        Q. Okay. Now, this -- this                  8       Q. Then you go on to say: At this
     9   exhibit has some correspondence, e-mail and      9   point, we are considering engaging a third
    10   letters, in the February and March of 2015      10   party consultant, Buzzeo, to assist us with
    11   time frame. So we've moved forward a couple     11   closing any gaps before the resubmission of
    12   of months from the last exhibit, which was in   12   our documents to complete the VAWD assessment
    13   December of 2014, right, just for context?      13   form.
    14        A. Yes.                                    14            Right?
    15        Q. Okay. The -- now, there's a             15       A. Right.
    16   letter -- on the third page of this exhibit,    16       Q. So do you recall these events
    17   there's a letter dated February 23rd, 2015,     17   of getting an initial assessment from NABP
    18   and it appears to be from you on Giant Eagle    18   and realizing we need a little more time to
    19   letterhead; is that right?                      19   respond to what they're telling us and we
    20        A. Yes.                                    20   might want to get some help from Buzzeo as
    21        Q. Do you recall sending this              21   well?
    22   letter?                                         22       A. I do.
    23        A. I do.                                   23       Q. The next page of the exhibit is
    24        Q. Okay. And the letter is to an           24   the beginning of what appears to be the VAWD
    25   Alejandro Aranda, accreditation coordinator     25   Policy & Procedure Assessment from the NABP
                                              Page 99                                              Page 101
     1   for the NABP; is that right?                     1   for HBC Service Company.
     2       A. Correct.                                  2             Do you see that?
     3       Q. And you had some                          3        A. I do.
     4   correspondence, e-mail and written               4             MR. KOBRIN: I just want to
     5   correspondence, with Mr. Aranda; is that         5        flag the letter that you just went
     6   right?                                           6        over appears to be a draft. It
     7       A. Uh-huh, I did.                            7        appears to be incomplete. Are we in
     8       Q. The letter first says: Thank              8        agreement on that, that there are gaps
     9   you for providing the NABP assessment            9        in the letter that he hadn't filled in
    10   findings concerning VAWD to us recently.        10        yet, so I'm not sure that this letter
    11            So you had received, by the            11        was ever sent or was ever finalized.
    12   time you sent this, some assessment findings    12             MR. BARTON: Okay.
    13   from NABP, correct?                             13   BY MR. BARTON:
    14       A. I believe so. I can't                    14        Q. Well, do you believe you ever
    15   specifically recall.                            15   sent the letter that is -- that we were just
    16       Q. Okay. And you go on to say:              16   referring to? Do you believe you sent that
    17   We've now had -- had -- we have now had an      17   letter in one form or another to Mr. Aranda?
    18   opportunity to review those findings in         18        A. I believe so, yes.
    19   depth.                                          19        Q. And what counsel is referring
    20            So do you recall receiving some        20   to as blank is a phone number that wasn't
    21   assessment findings from NABP and reviewing     21   filled in in this version that we're looking
    22   them carefully?                                 22   at, correct?
    23       A. Vaguely, yeah.                           23        A. Correct.
    24       Q. Yeah.                                    24        Q. But do you believe you likely
    25            You go on to say: Based on our         25   either filled that in or didn't fill it in,
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     1   but you sent the letter?                         1   addressing inventory controls.
     2       A. Yes.                                      2            Do you see that?
     3       Q. Okay. The -- looking at the               3       A. I do.
     4   assessment then, this -- is this the             4       Q. And so that, for example, lists
     5   assessment that you believe you're referring     5   various topics that VAWD is looking for -- or
     6   to in that February 23rd letter back to          6   the NABP is looking for, and there's -- in
     7   Mr. Aranda?                                      7   the third column over from the left there's a
     8       A. It is.                                    8   policy and procedure name and number, and a
     9       Q. Okay. And it has a date of                9   number of them are noted as still being
    10   February 10, 2015, looking at the first page    10   needed, correct?
    11   of it in the upper right corner.                11       A. Correct.
    12             Do you see that?                      12       Q. So there's -- that's just one
    13       A. I do.                                    13   area, among others, but that's one area where
    14       Q. All right. And so this --                14   you knew there were still going to be some
    15   again, this is a policy and procedure           15   additional policies needed to meet VAWD's
    16   assessment, and there are some general          16   expectations, right?
    17   comments on the first page that I want to ask   17       A. The ones that said still
    18   you about down at the bottom.                   18   needed, yes.
    19             Do you see where I am?                19       Q. Okay. And there are also some
    20       A. I do.                                    20   reviewer comments after that section as well
    21       Q. So the reviewer comments state:          21   as there are after several of the sections,
    22   The policies and procedures (P&P) submitted     22   but there's some specific reviewer comments
    23   by the applicant lack detail and often do not   23   there about the inventory control area as to
    24   reference the requirements. VAWD requires       24   how those policies look, correct?
    25   that the criteria as noted in the assessment    25       A. Correct.
                                              Page 103                                            Page 105
     1   be incorporated into documentation and with      1       Q. Okay. The first reviewer
     2   sufficient definition that would demonstrate     2   comment notes that a process for conducting
     3   that the requirements are part of operational    3   authentication of prescription customer
     4   activities.                                      4   orders for product is a VAWD requirement.
     5            Did I read that correctly?              5   How legitimate orders are received, reviewed
     6       A. Yes.                                      6   and processed and how orders are screened for
     7       Q. So did you understand that one            7   suspicious order criteria must be identified
     8   of the items of feedback you were getting        8   and documented.
     9   from the NABP as of February 2015 was that in    9            Do you see that?
    10   some respects your policies and procedures      10       A. I do.
    11   lacked detail and didn't meet VAWD's            11       Q. Okay. So you understood that
    12   expectations?                                   12   one of the items of feedback you were getting
    13       A. Yes.                                     13   from the review of your existing policies on
    14       Q. Okay. So among other concerns            14   inventory controls was that you were being
    15   that you had as trying to ultimately succeed    15   told that how orders are screened for
    16   in getting VAWD certification, you knew you     16   suspicious order criteria must be identified
    17   needed to do further work yet on your           17   and documented, right?
    18   policies and procedures?                        18            MR. KOBRIN: Object to form,
    19       A. We did.                                  19       misrepresents the evidence.
    20       Q. Okay. The assessment goes                20       A. Correct, among with the regular
    21   through lots of topics, similar to the Buzzeo   21   orders as well.
    22   report we looked at earlier. We won't go        22   BY MR. BARTON:
    23   through all of them, but the -- let's see.      23       Q. The -- let's see. Okay.
    24            Looking at page 9 of the NABP          24            If you turn still within the
    25   assessment report, that one is the one          25   exhibit, after the assessment report that we

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     1   were just looking at, there is an e-mail         1        A. Correct.
     2   within the exhibit. It's Bates number ending     2        Q. Okay. And then she says at the
     3   542. And that's an e-mail from Mr. Aranda to     3   bottom: Next meeting set for Monday,
     4   you on February 10, 2015.                        4   March 30 at 9:00 a.m.
     5            Do you see that?                        5             So the group here that's part
     6        A. Uh-huh.                                  6   of this e-mail chain, does that look familiar
     7        Q. So this appears to be the                7   to you as kind of the group that was meeting
     8   e-mail in which he attached and sent to you      8   and discussing Buzzeo's various
     9   the policies and procedures assessment that      9   recommendations for VAWD certification?
    10   we were just looking at.                        10        A. Yes.
    11            Do you agree?                          11        Q. Okay. And the e-mail -- the
    12        A. Yes.                                    12   next e-mail up is from Tina Posey, and she
    13        Q. And he says in the third                13   was with Buzzeo, correct?
    14   paragraph: Please respond to all action         14        A. She was.
    15   items within 30 days in order to move forward   15        Q. And that's on Sunday, March 29.
    16   with the VAWD application process.              16   It's just to you and Dolly with also a Scott
    17            Do you see that?                       17   Hardy cc'd.
    18        A. I do.                                   18             Do you see that?
    19        Q. And then your letter to him on          19        A. I do.
    20   February 23rd that we looked at earlier, your   20        Q. Okay. And so Tina says, among
    21   response was, you know, we would like a         21   other things, she says: Hi Dolly - Per your
    22   90-day -- we need 90 days to fully respond to   22   e-mail below, I was to receive all revised
    23   all of your questions, correct?                 23   Giant Eagle VAWD documents by end of day
    24        A. Correct.                                24   Friday, March 27th. I only received two
    25            MR. BARTON: Okay. This is              25   revised SOPs out of the 17 SOPs I reviewed
                                              Page 107                                            Page 109
     1       5043.                                        1   and returned for revisions.
     2             MR. KOBRIN: What number is             2            And she identifies the two that
     3       this?                                        3   she had received. And so she just goes on to
     4             MR. BARTON: This will be               4   say: I believe that our conference call
     5       Number 11.                                   5   scheduled for March 30 was to review any
     6             (HBC-Rogos Deposition                  6   additional edits or comments, and so she's
     7       Exhibit 11 marked.)                          7   really just asking if we still have that call
     8   BY MR. BARTON:                                   8   on Monday.
     9       Q. Okay. Exhibit 11 is a document            9            Is that right?
    10   with the first page being HBC_MDL00181482; is   10            MR. KOBRIN: Object to form.
    11   that right?                                     11        A. I believe so, yeah.
    12       A. Yes.                                     12   BY MR. BARTON:
    13       Q. And the last page of the                 13        Q. And then she does say also, at
    14   exhibit, HBC_MDL00181511; is that right?        14   the bottom of her e-mail: I need to see the
    15       A. Yes.                                     15   revisions that are made. The GE team should
    16       Q. Okay. This exhibit again has             16   utilize "track changes" so I can see when
    17   several e-mails followed by what appear to be   17   information is new, removed or if the GE team
    18   attachments to those e-mails. We'll just        18   is accepting the edits that I entered.
    19   confirm that with you.                          19            Do you see that?
    20             The first e-mail in the chain         20        A. I do.
    21   on the second page started on March 24 of       21        Q. And you're familiar with what
    22   2015 from Dolly Stevens to a number of people   22   track changes is on Word if you're editing a
    23   identified there, and that's appearing to       23   document and showing someone what edits
    24   just list and discuss some notes of a           24   you've made, it's just a way for those edits
    25   discussion that day; is that right?             25   to show up?

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     1       A. I do.                                     1   they became effective?
     2       Q. Okay. The top e-mail on this              2       A. It would have been a
     3   exhibit then was -- is from Dolly Stevens to     3   combination -- and I don't know specifically,
     4   you and Joe Millward and kind of that team       4   but of the key pharmacy team that was on the
     5   identified there, and she says that -- well,     5   previous e-mails.
     6   what are listed are a bunch of attachments to    6       Q. Okay. And looking at the
     7   her e-mail.                                      7   redlines, do you -- so do you believe that
     8             Do you recall kind of -- do you        8   you took the prior document that we've looked
     9   recall this e-mail and these -- these events?    9   at earlier that was called Inventory Controls
    10       A. I do.                                    10   with a -- you know, an effective date of
    11       Q. Okay. Listed in the e-mail               11   8/1/14, do you believe you took that document
    12   attachments are an Inventory Control Policy -   12   as kind of your starting point of the
    13   Suspicious Order Policy, and then also an       13   substance and then made changes to it that
    14   Inventory Control Policy with revisions.        14   are shown here on the track changes?
    15             Do you see that, where I'm            15       A. On the suspicious order policy?
    16   referring to at the top, in the attachments,    16       Q. Yes.
    17   the list?                                       17       A. Yes.
    18       A. Yes.                                     18       Q. Yeah, and one of the things
    19       Q. Okay. So I want to turn to               19   that you changed was the title of it. It
    20   what I think those are, and we'll see if you    20   used to be Inventory Control as the title,
    21   agree what is listed there.                     21   and you -- you changed the title and called
    22             Then if you turn forward in the       22   this a Suspicious Order Policy, correct?
    23   exhibit to what's Bates number ending 491,      23       A. I remember that now, yes.
    24   there's a document there that's called          24       Q. And you did some other things,
    25   Suspicious Order Policy.                        25   too, that are shown with the underlining.
                                              Page 111                                             Page 113
     1            Do you see that?                        1   You understand the underlining to be new
     2       A. I do.                                     2   content and the strike-throughs to be deleted
     3       Q. And this one has an effective             3   content?
     4   date of 8/1/14. It's got revision number 2.      4       A. Correct.
     5   You're the policy owner. It's in a little        5       Q. Okay. So one of the things
     6   different format from the inventory control      6   that you put into this policy down at the
     7   policy we've seen earlier, correct?              7   bottom is a bullet point that states:
     8       A. Yes.                                      8   Suspicious order criteria include, but are
     9       Q. Okay. And this one then is                9   not limited to the following.
    10   followed by a document that appears to be the   10             And then you identify some
    11   redline or track changes version leading to     11   criteria for suspicious orders, correct?
    12   the clean one that we just looked at.           12       A. Correct.
    13            Would you agree?                       13       Q. And you would agree that that's
    14       A. Yes.                                     14   the first time you put any criteria for
    15       Q. Okay. And so do you believe              15   suspicious orders into a written policy for
    16   both of these were attached to Dolly's e-mail   16   HBC and Giant Eagle?
    17   on March 29 of 2015?                            17             MR. KOBRIN: Object to form.
    18       A. Yes.                                     18       A. I believe so.
    19       Q. And do you -- do you know who            19   BY MR. BARTON:
    20   made the revisions that are shown in the        20       Q. Okay.
    21   track changes here on this document?            21             MR. KOBRIN: You want to take
    22       A. Most likely, that would have             22       another break? We're at about two
    23   been me.                                        23       hours.
    24       Q. Okay. Do you recall who else             24             MR. BARTON: Yeah, we can do
    25   reviewed and approved those changes before      25       that.
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     1           THE VIDEOGRAPHER: Off the                1   BY MR. BARTON:
     2       record at 3:35 p.m.                          2       Q. In Exhibit 10, that's when we
     3           (Recess taken, 3:35?p.m. to              3   went through the NABP assessment feedback
     4       4:08?p.m.)                                   4   that they had given you on policies, and that
     5           THE VIDEOGRAPHER: We're back             5   was dated February 10 of 2015. That's why I
     6       on the record at 4:08 p.m.                   6   used that date.
     7   BY MR. BARTON:                                   7            And then -- and so you sent the
     8       Q. Okay. Mr. Rogos, I am still               8   letter back asking for the 90-day extension
     9   looking at Exhibit 11, and just a couple more    9   on February 23rd, but you got the assessment
    10   questions about that before we leave it.        10   on February 10. So I'm just kind of trying
    11           The suspicious order policy             11   to, again, kind of keep a timeline together
    12   with the redlines that we were looking at       12   here.
    13   which is on the page numbered 493, that's the   13            And do you believe, looking at
    14   end of the Bates number. Do you see that?       14   these redlines, it's most likely that you
    15       A. I do.                                    15   would have made them sometime after the NABP
    16       Q. So those redlines that you               16   assessment report of February 10, 2015 and
    17   thought you might have done, do you -- would    17   March 29, which is when Dolly is forwarding
    18   you assume that those were likely done          18   these around that have those redlines?
    19   sometime in the time frame between February     19            MR. KOBRIN: Object to form.
    20   of 2015, when you had received the assessment   20       A. I believe so.
    21   from NABP about policies, and then you're in    21   BY MR. BARTON:
    22   the time period of trying to respond to their   22       Q. Okay. The -- so -- and the
    23   concerns in that 90-day period?                 23   clean version is immediately preceding that
    24           I'm just asking: Do you                 24   redline version of the suspicious order
    25   believe that's probably when you revised that   25   policy, correct?
                                             Page 115                                              Page 117
     1   policy?                                          1             You're looking at -- we're now
     2            MR. KOBRIN: Object to form.             2   looking at the clean version, 491?
     3       A. I believe so.                             3        A. Yeah.
     4   BY MR. BARTON:                                   4        Q. The page is ending 491.
     5       Q. A better way to ask the                   5             Would you agree that the policy
     6   question is: Do you remember when you did        6   regarding reviewing orders and trends to
     7   those redlines?                                  7   identify suspicious drug orders, that it --
     8       A. Not specifically, no.                     8   it still doesn't have a lot of detail on
     9       Q. Okay. But based on -- based on            9   exactly how orders are reviewed, like just
    10   what we have seen so far, you think it's most   10   sort of the mechanism or the steps for
    11   likely that it did occur in the time frame      11   reviewing them.
    12   between February 10, 2015 and March 29 of       12             Would you agree with that?
    13   2015?                                           13             MR. KOBRIN: Object to form.
    14       A. And where are those dates?               14        A. In terms of the warehouse
    15       Q. The February 10 was the date of          15   reviewing them, like identifying those steps?
    16   the NABP assessment and policies.               16   BY MR. BARTON:
    17       A. Right.                                   17        Q. Yes.
    18            MR. KOBRIN: And what exhibit           18        A. Wouldn't it identify them in
    19       was that?                                   19   the second bullet point?
    20            MR. BARTON: That was                   20        Q. Well, it does identify
    21       exhibit -- I think that was Exhibit 8.      21   criteria, and so it identifies things you're
    22       No, it's not. Sorry. It might be            22   looking for, correct, purchases over a
    23       Exhibit 9. Was it Exhibit 10? Yeah,         23   defined top period that exceed a
    24       yeah, okay.                                 24   predetermined threshold.
    25            THE WITNESS: Okay.                     25             So, I mean, that suggests that
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     1   somebody would set a threshold and then          1   PDF version policies for VAWD as well the
     2   orders would be reviewed against a threshold,    2   document retention policy and chart. If you
     3   right?                                           3   have any questions, let us know.
     4       A. Correct.                                  4            Do you see that?
     5       Q. And orders of unusual                     5        A. I do.
     6   quantities compared to a customer's order        6        Q. Okay. So do you recall kind of
     7   history -- so, yeah, I'm just simply asking      7   the effort to finish and get into final form
     8   if you would agree that this doesn't explain     8   the policies for the VAWD application in and
     9   exactly the steps of who does what in terms      9   around early April of 2015?
    10   of how that happens?                            10        A. Yes.
    11            MR. KOBRIN: Object to form.            11        Q. Okay. And you were personally
    12       A. I'm not really -- I'm kind of            12   involved in that effort as part of that team?
    13   understanding the question, but I don't, in     13        A. I was.
    14   the same form.                                  14        Q. Okay. And some of that would
    15   BY MR. BARTON:                                  15   have included you continuing to revise and
    16       Q. Okay. All right. Okay.                   16   edit policies as needed to try to get them
    17   That's fine.                                    17   into the final form?
    18            (HBC-Rogos Deposition                  18        A. Correct.
    19       Exhibit 12 marked.)                         19        Q. Okay. The -- if we turn to the
    20   BY MR. BARTON:                                  20   suspicious order policy that is attached to
    21       Q. Okay. I'm handing you                    21   this e-mail, and you can see it's -- it is
    22   Exhibit 12. Oh, let's see. Hold on. Mine's      22   listed in the attachments on the first page.
    23   off. My staple's come out. Okay.                23   There's an Inventory Control - Suspicious
    24            Exhibit 12, just make sure             24   Order Policy. I find it -- sorry, I had it.
    25   we've got the same exhibit here. It's a         25   Okay.
                                              Page 119                                             Page 121
     1   multiple-page document, the first number         1            Page -- the Bates number is
     2   HBC_MDL00078594; is that right?                  2   ending 638. Do you see that?
     3        A. Correct.                                 3       A. I do.
     4        Q. And the last page,                       4       Q. Okay. Now, actually, the best
     5   HBC_MDL00078668.                                 5   thing to do just to make this easy is let's
     6        A. Correct.                                 6   also open back up from the previous exhibit
     7        Q. Okay. This exhibit appears to            7   the suspicious order policy that was
     8   be an e-mail from a Sara Green, executive        8   attached. I'm sorry, I should have had you
     9   secretary at Giant Eagle, to the same people     9   keep your thumb in it, I just wasn't
    10   who have been on other e-mails, largely, in     10   thinking.
    11   terms of the team that appears to have been     11            So from Exhibit 11 let's go
    12   working on VAWD certification, including you;   12   back to the clean version of the suspicious
    13   is that right?                                  13   order policy there.
    14        A. Correct.                                14            MR. KOBRIN: I'm going to
    15        Q. And the subject of her e-mail           15       object to relevance to any of this
    16   is: All policies for VAWD reflected as of       16       because I don't believe we are -- HBC
    17   5:00 p.m. today.                                17       is distributing any of the relevant
    18             Do you see that?                      18       products at this time.
    19        A. I do.                                   19            MR. BARTON: I think that's
    20        Q. Okay. And then it appears to            20       probably right, but I just am trying
    21   list a number of attachments, PDF attachments   21       to get the history on the policy here
    22   to the e-mail, correct?                         22       just nailed down, get the timeline,
    23        A. Correct.                                23       but...
    24        Q. And then her text of her e-mail         24            I mean, I don't agree that it's
    25   to the group says: Attached are all final       25       irrelevant, but I agree with your
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     1       factual --                                   1       A. Yes.
     2             MR. KOBRIN: You don't agree            2       Q. Do you recall whether you made
     3       it's irrelevant?                             3   those changes between March 29 and April 9 to
     4             MR. BARTON: I agree with your          4   this policy?
     5       representation about the time frame.         5       A. I don't remember.
     6       Okay.                                        6       Q. Do you recall any discussion
     7   BY MR. BARTON:                                   7   about why those changes were made?
     8       Q. So just a couple of questions             8       A. I don't recall specifically.
     9   here. So the -- there are a few changes, not     9       Q. Do you know who made them?
    10   too many, but there's a few changes between     10            MR. KOBRIN: Object to form,
    11   the document that is the suspicious order       11       asked and answered.
    12   policy we saw in Exhibit 11, the clean          12            MR. BARTON: Is that what I
    13   version on Bates number 181491, and this --     13       asked him?
    14   which was attached to an e-mail March 29 from   14   BY MR. BARTON:
    15   Dolly Stevens, and then now this final          15       Q. I think I asked you if you made
    16   version being circulated April 9 of 2015.       16   them. Do you know -- do you know who made
    17             MR. KOBRIN: Object to form.           17   them?
    18   BY MR. BARTON:                                  18       A. No.
    19       Q. Well, would you agree that just          19       Q. Okay. As part of the team that
    20   comparing these two, while very similar,        20   was reviewing and revising policies for
    21   there are a few small changes?                  21   purposes of VAWD certification, do you
    22             MR. KOBRIN: Object to form.           22   believe that as of April 9 when this policy
    23       A. It looks like there are.                 23   was being circulated as a final policy for
    24   BY MR. BARTON:                                  24   VAWD certification, do you believe you had
    25       Q. Okay. We can just kind of note           25   reviewed and approved this policy as -- as a
                                             Page 123                                              Page 125
     1   them. The -- well, for one, the one in           1   final?
     2   Exhibit 12, the -- being circulated on           2            MR. KOBRIN: Object to form.
     3   April 9 as a final version, it has a revision    3       A. I probably reviewed it and
     4   date of 4/9/2015 and a last reviewed date of     4   forwarded it on, either just saved it and
     5   4/9/2015.                                        5   then -- along with other policies in the
     6            Do you see that?                        6   S: drive.
     7       A. I do.                                     7            MR. KOBRIN: Don't speculate if
     8       Q. And those dates don't appear in           8       you're not sure.
     9   the one that we had seen earlier, which was      9            THE WITNESS: Okay.
    10   being circulated on March 29, 2015, correct?    10   BY MR. BARTON:
    11       A. Correct.                                 11       Q. Do you believe you reviewed all
    12       Q. Okay. The -- in the -- the               12   of the policies that were being submitted to
    13   purpose/objective and the scope are basically   13   VAWD for purposes of applying for VAWD
    14   the same. There's a little bit of a             14   certification to make sure that you felt like
    15   formatting difference, but substantively I      15   they were complete?
    16   think they say the same thing.                  16            MR. KOBRIN: At what time?
    17            The policy section is where            17            MR. BARTON: As of April 9,
    18   there's just a little -- there's been a         18       2015.
    19   change. In the Exhibit 11 version, Bates        19            MR. KOBRIN: Because this is
    20   number 181491, the policy version has -- the    20       not being submitted to VAWD here.
    21   policy section, I'm sorry, is broken out into   21            MR. BARTON: Correct.
    22   five bullet points, and the policy section on   22            MR. KOBRIN: Okay.
    23   the final version in Exhibit 12, Bates          23            THE WITNESS: So --
    24   number 78638, that's just broken out into two   24            MR. BARTON: Yeah, let me back
    25   bullet points, correct?                         25       up.
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     1   BY MR. BARTON:                                   1           The first page is
     2        Q. When Ms. Green circulated these          2   HBC_MDL00133670; is that right?
     3   to the group on that cover e-mail on the         3       A. Yes.
     4   first page of this exhibit, she just said:       4       Q. And the last page is
     5   Attached are all final PDF versions of           5   HBC_MDL00133748; is that right?
     6   policies for VAWD.                               6       A. Correct.
     7             I'm asking you, then: Do you           7       Q. Okay. The first page of the
     8   believe that her statement or                    8   exhibit has two e-mails, and the lower one
     9   characterization of these as final policies      9   appears to be from you on Friday, April 10 of
    10   for VAWD -- do you believe that was accurate    10   2015, correct?
    11   at the time? Do you believe you considered      11       A. Yes.
    12   these to be final for VAWD?                     12       Q. And it is to -- it is written
    13             MR. KOBRIN: Object to form.           13   to Alejandro Aranda at NABP; is that correct?
    14        A. Yes.                                    14       A. Correct.
    15   BY MR. BARTON:                                  15       Q. And so there's several
    16        Q. Okay. One of the last items on          16   recipients of the e-mail, including
    17   this suspicious order policy on page 2 of       17   Mr. Aranda, and then a VAWD address at
    18   it -- I'm now looking at Exhibit 12, so Bates   18   nabp.net, and then a number of people on your
    19   number -- I'm on page 78639.                    19   team, true?
    20             One of the last items just            20       A. Yes.
    21   deals with records retention. It says: HBC      21       Q. And this one actually, the
    22   retains the records of the investigation and    22   subject says: HBC VAWD Application and
    23   outcome for six years.                          23   Documents, Part 2, right?
    24             Do you see that?                      24       A. Yes.
    25        A. I do.                                   25       Q. And in your e-mail you say to
                                             Page 127                                              Page 129
     1       Q. Do you have any understanding             1   Mr. Aranda, Alejandro: Attached are the
     2   of whether that part of this policy was a new    2   remainder of the SOPs for our VAWD
     3   policy or just memorialized as a previously      3   application, which kind of suggests there may
     4   existing policy?                                 4   have been a Part 1 e-mail, correct?
     5       A. I don't know.                             5        A. I'm assuming so.
     6       Q. Okay. At least during the time            6        Q. Which is fine. I just am
     7   that you continued to be at HBC, do you          7   making sure you kind of agree that's what
     8   believe that HBC complied with that retention    8   you're doing there.
     9   policy stated in this document?                  9            You go on to say: You will see
    10            MR. KOBRIN: Object to form.            10   that attached to this e-mail I have included
    11       A. I don't know. I would assume             11   the VAWD PP Assessment Final that references
    12   so, but I don't know.                           12   the pages of the SOPs where you will be able
    13   BY MR. BARTON:                                  13   to find the answers to the assessment
    14       Q. Okay. You would expect it to             14   questions.
    15   have been followed as director of warehouse     15            Is that what you said?
    16   operations?                                     16        A. Yes.
    17       A. Yes.                                     17        Q. And so what -- in part what you
    18            (HBC-Rogos Deposition                  18   were trying to do for Mr. Aranda there was to
    19       Exhibit 13 marked.)                         19   not only provide him the policies that you
    20   BY MR. BARTON:                                  20   had revised and pulled together for VAWD, but
    21       Q. Okay. I'm handing you                    21   also to direct him to the assessment they had
    22   Exhibit 13. Okay. Again, just to identify       22   given you kind of to show where you had
    23   the exhibit, this is a multiple-page exhibit    23   responded to their concerns?
    24   with some e-mails on the first page and a       24        A. I believe so, yes.
    25   number of attachments.                          25        Q. Is that kind of the idea there?

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     1       A. Yeah.                                     1        sure.
     2       Q. The -- and so, then again,                2            THE VIDEOGRAPHER: Off the
     3   included in this document are obviously a        3        record at 4:30 p.m.
     4   number of policies, including the suspicious     4            (Recess taken, 4:30 p.m. to
     5   order policy that we've gone over, and that      5        4:40?p.m.)
     6   appears -- it appears at Bates number 133730.    6            THE VIDEOGRAPHER: We're back
     7            Do you agree with that?                 7        on the record at 4:40 p.m.
     8       A. Yes.                                      8            MR. BARTON: Mr. Rogos, I
     9       Q. Okay. And then back to the                9        appreciate your time today, and I
    10   e-mails, the e-mail above yours on this         10        don't have any further questions.
    11   document, on this exhibit, appears to be from   11            THE WITNESS: Thank you.
    12   Greg Carlson to Mark Doerr sent that same day   12               EXAMINATION
    13   with Mr. Carlson saying VAWD on the way.        13   BY MR. KOBRIN:
    14            Do you see that?                       14        Q. Mr. Rogos, I just have a couple
    15       A. I do.                                    15   of follow-up questions for you.
    16       Q. Who is Mr. Doerr?                        16            Could you do me a favor and
    17       A. I don't know.                            17   grab Exhibit 7. Do you recall discussing
    18       Q. Okay. But it would appear that           18   this document with opposing counsel?
    19   Mr. Carlson was kind of forwarding your         19        A. I do.
    20   e-mail with the -- with those VAWD documents    20        Q. And as I recall, this is the
    21   for the application to Mr. Doerr and just       21   first version of a document that you
    22   reporting to him that the VAWD application      22   formatted in this way in part to prepare for
    23   was on its way?                                 23   a VAWD application; is that correct?
    24       A. Looks like it.                           24            MR. BARTON: Object to form.
    25       Q. Okay. Now, you left HBC in May           25        A. That's correct.
                                              Page 131                                            Page 133
     1   of 2015; is that right?                          1   BY MR. KOBRIN:
     2        A. I did.                                   2       Q. Did you format this document?
     3        Q. So once you left, I assume you           3       A. I did.
     4   obviously had no involvement in any further      4       Q. And the content of this
     5   dealings trying to get VAWD certification,       5   document, where did it come from?
     6   correct?                                         6       A. This was taken -- the content
     7        A. No, I did not.                           7   was taken from an existing standard operating
     8        Q. Were you contacted, after you            8   procedures and policies notebook that I had
     9   left, by HBC for any kind of follow-up           9   regarding the HBC pharmacy room.
    10   questions, just as they may have continued in   10       Q. And that was the notebook, the
    11   that process?                                   11   three-ring binder that you mentioned earlier
    12        A. Not that I can remember.                12   in your testimony to opposing counsel?
    13        Q. Okay. Did you ever hear                 13       A. That's correct.
    14   anything more from anybody at HBC about their   14       Q. So this is a preexisting policy
    15   VAWD application?                               15   that existed in writing prior to August 1st,
    16        A. Nothing specific, no.                   16   2014?
    17        Q. Okay. And -- yeah, that's               17       A. It did, yes.
    18   fine. I don't want you to reveal anything       18       Q. And this document here is a
    19   that you talked about with counsel. I just      19   reformatting of that policy in order to try
    20   meant from HBC people at that time, and you     20   and meet the formatting specifications of the
    21   don't remember anything it sounds like.         21   VAWD application; is that what's being done
    22        A. No.                                     22   here?
    23              MR. BARTON: Okay. Give me --         23       A. Yes, that's it exactly.
    24        let's just take a very short break. I      24       Q. Could you turn to Exhibit 6.
    25        think I'm done, but let me just make       25   Do you recall looking at this document with
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     1   opposing counsel?                                       1       A. Okay.
     2        A. I do.                                           2       Q. Opposing counsel asked you
     3        Q. And if you turn to the page                     3   about the first bullet under Reviewer
     4   Bates-marked HBC_MDL00180073, when you were             4   Comments at the top of that page.
     5   looking at this page you talked to opposing             5            Do you see that first bullet?
     6   counsel about certain check marks that were             6       A. I do.
     7   on this document.                                       7       Q. And that first bullet says: A
     8            Do you recall that?                            8   process for conducting authentication of
     9        A. I do.                                           9   prescription customer orders for product is a
    10        Q. And as I recall, you testified                 10   VAWD requirement.
    11   that you weren't sure who had entered the              11            Do you see that?
    12   check marks onto the document?                         12       A. I do.
    13        A. That's correct.                                13       Q. Do you recall what this bullet
    14        Q. And opposing counsel asked you                 14   was about or having conversations with VAWD
    15   if there was a check mark under the second             15   contacts about what they were commenting on
    16   box on the page that begins with reporting             16   in this bullet?
    17   suspicious prescription product orders; is             17       A. Yeah. Mike Bianco and I had a
    18   that correct?                                          18   conversation with Alejandro specifically
    19        A. Correct.                                       19   about that bullet point. Alejandro wanted
    20        Q. What did it mean if there was a                20   verification on how we authenticate a valid
    21   check mark next to one of these tasks on               21   order.
    22   these lists?                                           22            What we had to explain to
    23            Do you recall what that meant?                23   Alejandro and what he did not know is that
    24            MR. BARTON: Object to form.                   24   the HBC pharmacy warehouse only shipped to
    25   BY MR. KOBRIN:                                         25   Giant Eagle pharmacies.
                                                   Page 135                                               Page 137
     1       Q. Do you recall what it meant if                   1             Those Giant Eagle pharmacies
     2   there was a check mark versus whether there             2   placed their orders and submitted those
     3   was not a check mark on these lists?                    3   orders to HBC in a closed system, so someone
     4       A. Yes. From my recollection, the                   4   outside of that system, a non-Giant Eagle
     5   check mark meant that we had the procedure              5   pharmacy, could not put an order for
     6   documented and in place.                                6   prescriptions into our pharmacy.
     7            Something that might not have                  7             What we had to explain to him,
     8   been checked, like the first box, might have            8   that was our authentication process, that
     9   meant that we still needed to get that in the           9   those orders were authentic because they came
    10   format and then with the specific detail that          10   from Giant Eagle pharmacies.
    11   was required by VAWD. It didn't mean that we           11       Q. So the entire concern expressed
    12   did not have that policy.                              12   in this bullet regarding how orders are
    13       Q. Thank you.                                      13   received, reviewed, processed or screened for
    14            Could you turn to Exhibit 10.                 14   suspicious order criteria, that all related
    15   This is an e-mail from Dolly Stevens, and it           15   to the authentication issue?
    16   has an attachment that has the VAWD                    16             MR. BARTON: Object to form.
    17   assessment that you guys received on                   17       A. Correct. Correct.
    18   February 10th, 2015.                                   18             MR. KOBRIN: Strike the prior
    19            Do you recall discussing this                 19       question.
    20   with opposing counsel?                                 20   BY MR. KOBRIN:
    21       A. I do.                                           21       Q. The issue that was raised here
    22       Q. Now, if you could go to the                     22   about how orders are received, reviewed,
    23   attachment and go to the tenth page of the             23   processed or screened for suspicious order
    24   attachment which is Bates-stamped                      24   criteria, did those all relate to that
    25   HBC_MDL00181533.                                       25   authentication question that you explained to

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     1   Alejandro?                                       1        follow-up questions.
     2        A. Yes.                                     2                EXAMINATION
     3        Q. Would you look at Exhibit 11             3   BY MR. BARTON:
     4   very quickly. This is a document that has        4        Q. The -- tell me how is it you
     5   policies and then markups of those policies      5   know that the employees in the warehouse
     6   as attachments to the e-mail.                    6   during -- prior to you making the revisions
     7            Do you recall looking at this           7   in this policy that you were just asked about
     8   document?                                        8   in the suspicious order policy, tell me how
     9        A. I do.                                    9   is it that you know that the employees of the
    10        Q. Could you go to the markup of           10   warehouse knew about the suspicious order
    11   the suspicious order policy, which is at        11   criteria and how they should be factored into
    12   HBC_MDL00181493.                                12   looking for suspicious orders?
    13        A. Okay.                                   13             MR. KOBRIN: Object to the
    14        Q. Opposing counsel asked you a            14        form.
    15   lot about the markups and the additional text   15        A. There were conversations with
    16   that you added under the procedures here.       16   the employees specifically, the support staff
    17            Do you recall talking about            17   that worked not only on the daily shifts, but
    18   that?                                           18   afternoon shifts, with individuals who
    19        A. I do.                                   19   ordered and monitored those orders at our
    20        Q. This additional text that you           20   corporate office.
    21   were involved in adding to the policy, what     21   BY MR. BARTON:
    22   is this additional text based upon?             22        Q. So you had conversations with
    23        A. The additional text was based           23   people who worked at the warehouse, and
    24   upon detailing very specifically what we had    24   that's your basis for believing they
    25   been doing in the HBC pharmacy prior to         25   understood it?
                                              Page 139                                             Page 141
     1   creating this document.                          1       A. My understanding, yes, uh-huh.
     2            The policies previous did not           2       Q. There -- was there ever, during
     3   explain or detail what exactly was being done    3   the time that you were director of warehouse
     4   in the pharmacy or what was occurring on a       4   operations, was there ever any specific
     5   day-to-day basis, so this just made sure that    5   training that you directed or conducted of
     6   we were detailing that in the specificity        6   your employees on suspicious order
     7   that VAWD required.                              7   monitoring?
     8       Q. So before you -- before you put           8       A. Not that I did.
     9   these into this new version 2 of the             9       Q. Okay. Did it ever occur? I
    10   suspicious order policy, did the employees at   10   mean, apart from whether you actually did the
    11   the warehouse, did they know about these        11   training, did you -- do you know whether your
    12   details that you've itemized here? Were they    12   employees ever got training on the specifics
    13   aware of them?                                  13   of suspicious order monitoring while you were
    14       A. Yes.                                     14   director of warehouse operations?
    15       Q. And were they acting upon them?          15       A. No.
    16       A. Yes.                                     16       Q. Okay. And I think you've
    17       Q. And were you aware of them?              17   testified there wasn't, to your recollection,
    18       A. I was.                                   18   or at least you're not able to say there was,
    19       Q. And were you supervising your            19   an LMS training system where it would be
    20   warehouse employees in their actions in         20   documented somewhere that every employee was
    21   relation to these details?                      21   trained on these policies, correct?
    22       A. I was.                                   22       A. I'm not aware of that.
    23            MR. KOBRIN: I have no further          23       Q. Okay. After -- after this
    24       questions. Pass the witness.                24   policy was revised to include the suspicious
    25            MR. BARTON: I have a few               25   order criteria that counsel was just pointing

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     1   out -- after those revisions occurred in         1        I'm just -- I'm trying to understand
     2   early 2015, do you -- understanding you left     2        what your testimony was.
     3   by May of 2015, so I know we're talking about    3   BY MR. BARTON:
     4   a short window there, but during that window     4        Q. What -- let me ask it this way.
     5   of time, do you know whether employees were      5             What we went through earlier is
     6   trained on this new policy in that window?       6   that on this document, there are both some
     7        A. I hadn't --                              7   boxes that are checked and some that are not
     8             MR. KOBRIN: Object to form.            8   checked, but there's also a list of policies
     9        Object to form in that you're               9   at the end of this section that were believed
    10        describing the month between April of      10   to be relevant and responsive to this topic,
    11        2015 and May of 2015?                      11   correct?
    12             MR. BARTON: Yeah, or whenever         12        A. Correct.
    13        these edits were made prior to April.      13        Q. And we -- and I believe we've
    14             MR. KOBRIN: The edits that he         14   already identified that there was an
    15        already testified people were already      15   inventory control policy in place that you
    16        acting on, those particular changes        16   found and formatted the way it was formatted
    17        that we talked about that people were      17   as of August 1 of 2014, correct?
    18        already performing.                        18        A. Correct.
    19             MR. BARTON: I'm asking whether        19        Q. And so that -- and that
    20        there was any new training on this new     20   document was the document that you recall
    21        policy after the policy was edited.        21   associating with this inventory control
    22        A. From the time it was sent to            22   section of the VAWD checklist, right?
    23   VAWD, we did not do any training due to the     23        A. I do.
    24   fact it was not verified if we needed to make   24        Q. Okay. Other than that
    25   further edits on those policies.                25   inventory control document, which eventually
                                             Page 143                                             Page 145
     1   BY MR. BARTON:                                   1   had the date of August 1, 2014 associated
     2       Q. Okay. All right. And -- and               2   with it when it got formatted that way, other
     3   then you were gone, so you don't know what       3   than that document, were there any other
     4   happened after you left, correct?                4   written documents or policies that you were
     5       A. I don't.                                  5   aware of in your library of SOPs that
     6       Q. Okay. Back on -- just to                  6   addressed the reporting of suspicious product
     7   follow up here, on Exhibit 6 that you were       7   orders?
     8   just asked about by counsel, Exhibit 6 has       8            MR. KOBRIN: Object to form.
     9   the check marks, the inventory controls,         9            Do you remember?
    10   page -- so I'm looking within Exhibit 6 at      10       A. No. No.
    11   Bates number 180073.                            11   BY MR. BARTON:
    12       A. Okay.                                    12       Q. You can't -- as you sit here,
    13       Q. Okay. And counsel asked you              13   you are not aware of any other document that
    14   about the absence of the check mark in          14   did address specifically the reporting of
    15   reporting suspicious prescription product       15   suspicious prescription product orders?
    16   orders, and I believe that what you said is     16       A. I can't say there was and I
    17   that the absence of the check mark doesn't      17   can't say there wasn't. No, I don't
    18   mean you didn't have that policy. Instead,      18   remember.
    19   you said a check mark meant that you had the    19       Q. Right. And so the -- for
    20   policy in place and it was documented, but      20   example, any of these other documents that
    21   the absence of the check mark doesn't mean      21   were listed after the checklist on that
    22   you didn't have the policy?                     22   following page, after inventory control
    23            MR. KOBRIN: Object to form,            23   policy, there's the receiving controlled
    24       misrepresents his testimony.                24   drugs final. There's the final stocking SOP.
    25            MR. BARTON: I'm sorry, yeah,           25   There's the flow rack selection SOP.
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     1             You don't know whether any of          1       beyond the scope.
     2   those, for example, may have somehow             2       A. What type of order?
     3   addressed the reporting of suspicious drug       3   BY MR. BARTON:
     4   orders, correct?                                 4       Q. An order for controlled
     5             MR. KOBRIN: Object to form.            5   substances.
     6        He said he didn't remember whether any      6           Was it possible, then, if --
     7        did or didn't.                              7   I'm asking you if you -- your understanding
     8        A. I don't remember.                        8   of what a suspicious order could be.
     9             MR. BARTON: Okay. I'm just             9           Was it even possible for a
    10        directing him to the documents listed      10   Giant Eagle pharmacy to place a suspicious
    11        on the page.                               11   order to HBC?
    12   BY MR. BARTON:                                  12           MR. KOBRIN: Object to form,
    13        Q. And so what your testimony also         13       same reason.
    14   is, is that you don't know whether there were   14       A. We had controls in place at not
    15   any other additional documents not listed       15   only our own -- at the pharmacy level, but at
    16   here that addressed reporting of suspicious     16   the corporate level and at the warehouse
    17   prescription orders, right?                     17   level.
    18        A. I don't recall.                         18           Anything's possible. If we did
    19        Q. If there had been any that              19   have an order that came through that we
    20   directly addressed reporting of suspicious      20   thought should have been flagged, we
    21   orders, it would have been your intent to try   21   contacted the folks that would monitor those
    22   to identify those, list them here and account   22   types of levels.
    23   for whether they adequately met the VAWD        23           So could it happen? It could,
    24   requirements, right, because that was your      24   but we would have flagged it along the way.
    25   objective in this project, right?               25   BY MR. BARTON:
                                              Page 147                                             Page 149
     1            MR. KOBRIN: Object to form.             1       Q. Because there's a difference --
     2       A. That's correct.                           2   would you agree there's a difference between
     3   BY MR. BARTON:                                   3   verifying that an order is authentic, like a
     4       Q. And on Exhibit 10, just                   4   legitimate order from a pharmacy wanting
     5   following up on the questions counsel asked      5   product. There's a difference between just
     6   about the Exhibit 10 assessment from VAWD, I     6   verifying that an order is authentic and
     7   think you clarified what you understood one      7   evaluating whether the order is suspicious,
     8   of Alejandro's misunderstandings to be, which    8   authentic but suspicious.
     9   was that he didn't understand initially that     9            Those are two different things,
    10   HBC only shipped to Giant Eagle retail          10   right?
    11   pharmacies, correct?                            11            MR. KOBRIN: Objection, beyond
    12       A. That's correct.                          12       the scope.
    13       Q. And that makes HBC different             13       A. I'm not sure I understand the
    14   from some wholesalers or distributors that      14   question.
    15   might ship to any number of potential           15   BY MR. BARTON:
    16   pharmacies that they may not have as much       16       Q. Well, I think -- I think that
    17   familiarity with as HBC and Giant Eagle did     17   you were -- you had indicated that, you know,
    18   with its own retail pharmacies, correct?        18   one of the first items in this bullet point
    19       A. Correct.                                 19   from the NABP was a process for conducting
    20       Q. Based on that, do you believe            20   authentication of prescription customer
    21   that any order from a Giant Eagle retail        21   orders, and I think what you're indicating is
    22   pharmacy that is received by the HBC -- that    22   you knew -- through your system, your
    23   was received by the HBC warehouse could not     23   internal system of who was ordering, you knew
    24   have been a suspicious order?                   24   that your orders were authentic, right, from
    25            MR. KOBRIN: Object to form,            25   Giant Eagle pharmacies?

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                                                                             Review
                                              Page 150                                                    Page 152
     1       A. Correct.                                  1   encompasses both authenticity and whether
     2       Q. Because it was a closed system,           2   orders are suspicious, correct?
     3   you couldn't get an order from a stranger,       3            MR. KOBRIN: Object to form,
     4   correct?                                         4       misrepresents prior testimony.
     5       A. Could not.                                5       A. Correct.
     6       Q. Okay. So you knew through your            6            MR. BARTON: Okay. No further
     7   own processes that the orders were authentic,    7       questions.
     8   and you had to explain that to Alejandro,        8              EXAMINATION
     9   correct?                                         9   BY MR. KOBRIN:
    10       A. That's right.                            10       Q. I just have one quick
    11       Q. Because he didn't understand             11   follow-up. Looking at your r?sum? on
    12   that about HBC and who its customers were,      12   Exhibit 1, you started working at HBC Service
    13   right?                                          13   Company in late 2013; is that accurate?
    14       A. He did not.                              14       A. That's correct.
    15       Q. But I'm just saying authentic            15       Q. Were you aware of training that
    16   is one thing. It's -- you know, you want to     16   occurred prior to the time that you started
    17   verify that the orders are authentic and not    17   working as the manager at HBC in late 2013?
    18   being placed by some rogue non-real pharmacy,   18       A. I was not.
    19   correct, but you knew that yours would be,      19            MR. KOBRIN: Thank you.
    20   true?                                           20            MR. BARTON: Nothing further.
    21       A. Correct.                                 21            THE VIDEOGRAPHER: This
    22       Q. But that's not the same as               22       concludes this deposition. The time
    23   evaluating whether an order -- there are        23       is 5:02 p.m. Off the record.
    24   reasons why an order, authentic as an order,    24            (Proceedings recessed at
    25   may still be suspicious. That's a separate      25       5:02 p.m.)
                                              Page 151                                                      Page 153
     1   inquiry, right?                                  1               CERTIFICATE
     2
                                                          2           I, MICHAEL E. MILLER, Fellow of
                  MR. KOBRIN: Object to form.                 the Academy of Professional Reporters,
     3       He's already testified about this.           3   Registered Diplomate Reporter, Certified
                                                              Realtime Reporter, Certified Court Reporter
     4       His testimony on redirect was about          4   and Notary Public, do hereby certify that
     5                                                        prior to the commencement of the examination,
             the concern on the reviewer comment          5   MATTHEW ROGOS was duly sworn by me to testify
     6       and whether their concern about                  to the truth, the whole truth and nothing but
                                                          6   the truth.
     7       authentication was tied to all these         7           I DO FURTHER CERTIFY that the
     8                                                        foregoing is a verbatim transcript of the
             issues.                                      8   testimony as taken stenographically by and
     9            Your distinction between                    before me at the time, place and on the date
    10
                                                          9   hereinbefore set forth, to the best of my
             whether an authentic order is                    ability.
    11                                                   10
             different from a suspicious order is                     I DO FURTHER CERTIFY that pursuant
    12       completely beyond the scope.                11   to FRCP Rule 30, signature of the witness was
    13
                                                              not requested by the witness or other party
                  MR. BARTON: I don't think it's         12   before the conclusion of the deposition.
    14       beyond the scope at all. I'm just           13           I DO FURTHER CERTIFY that I am
                                                              neither a relative nor employee nor attorney
    15       asking him if he understands that           14   nor counsel of any of the parties to this
    16                                                        action, and that I am neither a relative nor
             distinction.                                15   employee of such attorney or counsel, and
    17   BY MR. BARTON:                                       that I am not financially interested in the
                                                         16   action.
    18       Q. Do you agree that's a                    17
    19
                                                         18 __________________________________
         distinction?                                       MICHAEL E. MILLER, FAPR, RDR, CRR
    20       A. There's a difference between an          19 Fellow of the Academy of Professional Reporters
                                                            NCRA Registered Diplomate Reporter
    21   authentic and a suspicious order.               20 NCRA Certified Realtime Reporter
    22       Q. Right. Okay.                                Certified Court Reporter
                                                         21
    23            And the -- both the feedback                Notary Public
    24
                                                         22   My Commission Expires: 7/9/2020
         from Alejandro and NABP and the checklist of    23   Dated: February 24, 2019
    25                                                   24
         things that NABP and VAWD is interested in      25

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                                                                             Review
                                             Page 154                                     Page 156
     1         INSTRUCTIONS TO WITNESS                    1       ACKNOWLEDGMENT OF DEPONENT
     2                                                    2
     3
                                                          3         I, MATTHEW ROGOS, do hereby
                 Please read your deposition over           certify that I have read the foregoing pages
     4   carefully and make any necessary corrections.    4 and that the same is a correct transcription
     5   You should state the reason in the                 of the answers given by me to the questions
     6   appropriate space on the errata sheet for any    5 therein propounded, except for the
     7   corrections that are made.                         corrections or changes in form or substance,
                                                          6 if any, noted in the attached
     8           After doing so, please sign the            Errata Sheet.
     9   errata sheet and date it.                        7
    10           You are signing same subject to          8
    11   the changes you have noted on the errata         9
    12                                                   10
         sheet, which will be attached to your
    13
                                                         11   ___________________________________________
         deposition.                                           MATTHEW ROGOS                DATE
    14           It is imperative that you return        12
    15   the original errata sheet to the deposing       13
    16   attorney within thirty (30) days of receipt     14   Subscribed and sworn to before me this
    17   of the deposition transcript by you. If you     15   _______ day of _______________, 20 _____.
    18
                                                         16   My commission expires: _______________
         fail to do so, the deposition transcript may    17
    19   be deemed to be accurate and may be used in     18   _______________________________
    20   court.                                          19   Notary Public
    21                                                   20
    22                                                   21
                                                         22
    23
                                                         23
    24
                                                         24
    25                                                   25

                                             Page 155                                                      Page 157
     1             ERRATA                                 1           LAWYER'S NOTES
     2   PAGE LINE CHANGE                                 2
     3   ____ ____ _________________________________      3   PAGE    LINE
     4      REASON: _______________________________       4   ____   ____ _____________________________
     5   ____ ____ _________________________________      5   ____   ____ _____________________________
     6      REASON: _______________________________       6   ____   ____ _____________________________
     7   ____ ____ _________________________________      7   ____   ____ _____________________________
     8      REASON: _______________________________       8   ____   ____ _____________________________
     9   ____ ____ _________________________________      9   ____   ____ _____________________________
    10      REASON: _______________________________      10   ____   ____ _____________________________
    11   ____ ____ _________________________________     11   ____   ____ _____________________________
    12      REASON: _______________________________      12   ____   ____ _____________________________
    13   ____ ____ _________________________________     13   ____   ____ _____________________________
    14      REASON: _______________________________      14   ____   ____ _____________________________
    15   ____ ____ _________________________________     15   ____   ____ _____________________________
    16      REASON: _______________________________      16   ____   ____ _____________________________
    17   ____ ____ _________________________________     17   ____   ____ _____________________________
    18      REASON: _______________________________      18   ____   ____ _____________________________
    19   ____ ____ _________________________________     19   ____   ____ _____________________________
    20      REASON: _______________________________      20   ____   ____ _____________________________
    21   ____ ____ _________________________________     21   ____   ____ _____________________________
    22      REASON: _______________________________      22   ____   ____ _____________________________
    23   ____ ____ _________________________________     23   ____   ____ _____________________________
    24      REASON: _______________________________      24   ____   ____ _____________________________
    25                                                   25


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